      Douglas R. Ricks, OSB #044026
      Daniel C. Bonham, OSB #183104
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor-in-Possession




                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                           Case No. 20-32571-dwh11

       U.S. Outdoor Holding LLC,                       DEBTOR-IN-POSSESSION’S
                                                       MEMORANDUM IN SUPPORT OF
                                                       CONFIRMATION OF DEBTOR-IN-
                      Debtor-in-Possession.            POSSESSION’S CHAPTER 11,
                                                       SUBCHAPTER V, PLAN DATED
                                                       DECEMBER 3, 2020

               Debtor-in-Possession U.S. Outdoor Holding LLC (the “Debtor”), by and through its

      attorneys, Vanden Bos & Chapman, LLP, hereby files this Memorandum in Support of

      Confirmation of Debtor-in-Possession’s Chapter 11, Subchapter V, Plan Dated December 3,

      2020 (Doc. #90) (the “Plan”) and, relying on the Declaration of Edward Ariniello in Support

      of the Chapter 11, Subchapter V, Plan Dated December 3, 2020 (“Ariniello Decl.”),

      represents and states as follows:

                                PROPOSED ORDER CONFIRMING PLAN

      1.       A proposed Order Confirming Debtor-in-Possession’s Chapter 11, Subchapter V,

               Plan (“Order Confirming Plan”) is attached as Exhibit 1; this proposed Order


Page 1 of 7     DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                  VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                 319 SW Washington Street, Suite 520
                SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                             Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                          Case 20-32571-dwh11       Doc 120    Filed 01/18/21
              Confirming Plan contains amendments to the Plan which are not adverse to the

              interest of any creditor or interest holder and can be deemed accepted by such

              parties. As discussed herein, the Plan is the Plan as modified by the amendments

              contained in the proposed Order Confirming Plan.

                                       CONFIRMATION STANDARDS

      2.      Section 1191(b) of the Bankruptcy Code (11 U.S.C. § 101 et seq.) provides that the

              court shall confirm a plan if all of the requirements of Section 1129(a), other than

              Sections 1129(a)(8), (10), and (15), are met. The Debtor argues herein that the Plan

              meets (including through proposed modifications agreed to with creditors) all of the

              requirements for confirmation.

      3.      Section 1129(a)(1) requires the Plan comply with applicable provisions of Title 11; the

              Plan complies with all such requirements. Ariniello Decl. ¶ 2. Those requirements

              include, without limitation, the following:

                 a. As required by Section 1123(a)(1), the Plan properly designates classes of

                     claims and classified only substantially similar claims in the same class

                     pursuant to Section 1122. Plan ¶ 2.2.

                 b. As required by Section 1123(a)(3), the treatment of each class is specified.

                     Plan ¶ 2.2.

                 c. As required by Section 1123(a)(4), the Plan provides for the same treatment

                     for each claim in each respective class. Plan ¶ 2.2.

                 d. As required by Section 1123(a)(5), the Plan provides adequate and proper

                     means for its implementation. The Plan provides for the vesting of the

                     property in the Debtor, the use and retention of such property (including


Page 2 of 7     DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                    VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
                CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                   319 SW Washington Street, Suite 520
                SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                               Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



                           Case 20-32571-dwh11        Doc 120   Filed 01/18/21
                      appropriate restrictions), the continuation of normal business operations, and

                      distributions to creditors. Plan ¶¶ 2.5, 6.1.

                 e. Section 1123(a)(6) is inapplicable in a case in which the debtor is an LLC.

                 f. To the extent made applicable by Section 1191, Section 1123(a)(7) is satisfied

                      by the retention of the appointed Subchapter V Trustee. 11 U.S.C. § 1191;

                      Appointment of Chapter 11 Trustee (Doc. #18).

                 g. Section 1123(a)(8) is inapplicable in a case in which the debtor is an LLC.

                 h. As required by Rule 3016(a), the Plan is dated and identifies the Debtor as its

                      proponent. Plan, generally.

                 i.   As required by Section 1129(c), no other Chapter 11 plan is pending or has

                      been confirmed in this bankruptcy case.

                 j.   As required by Section 1129(d), the principal purpose of the Plan is neither the

                      avoidance of taxes nor the avoidance of the application of the Securities Act of

                      1933, as amended. Ariniello Decl. ¶ 2.

      4.      Section 1129(a)(2) requires the Debtor, as the proponent of the Plan, to comply with

              the applicable provisions of Title 11; the Debtor has complied with all such

              requirements. Ariniello Decl. ¶ 3.

      5.      Section 1129(a)(3) requires the Plan has been proposed in good faith and not by any

              means forbidden by law; the Plan has been proposed in good faith and not by any

              means forbidden by law. Ariniello Decl. ¶ 4. Debtor further believes that it has

              proposed a Plan that fully treats and pays all classes of creditors in a fashion

              consistent with the Code and, therefore, has proposed his plan in good faith. Ariniello

              Decl. ¶ 5. Debtor, by and through counsel, has appeared at all appearance-required


Page 3 of 7    DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                     VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                    319 SW Washington Street, Suite 520
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                                Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



                           Case 20-32571-dwh11         Doc 120    Filed 01/18/21
              hearings and completed all court required reporting. Ariniello Decl. ¶ 6. Debtor has

              tried to disclose every piece of property, even when it may be determined not to have

              an interest in it outside of general business interest. Ariniello Decl. ¶ 7. Debtor

              believes the Plan has an adequate means for implementation and provides for

              alternatives in the event of default. Ariniello Decl. ¶ 8. These provisions show the

              Plan was proposed in good faith.

      6.      Section 1129(a)(4) provides that all payments for services or costs in or in connection

              with the case must be subject to court approval; the Plan complies with this provision.

              Ariniello Decl. ¶¶ 10-11; Plan ¶ 2.1(A).

      7.      Section 1129(a)(5) provides that the Plan proponent disclose post-petition

              management and employment of insiders; the Debtor has done so. Ariniello Decl.

              ¶ 12; Plan ¶ 2.7.

      8.      Section 1129(a)(6), which provides certain requirements regarding government

              regulation of rates, does not apply to this case. Ariniello Decl. ¶ 13.

      9.      Section 1129(a)(7) provides that the Plan must provide to holders of claims not less

              than the amount the holder would receive if the Debtor were liquidated; the Plan so

              provides. Ariniello Decl. ¶¶ 14-15; Plan ¶ 4, Ex. 2.

      10.     Section 1129(a)(8), which requires acceptance by all impaired classes, has not been

              met in this case but confirmation of the Plan is still appropriate under 11 U.S.C.

              § 1191(b).

      11.     Section 1129(a)(9) provides that the Plan must afford certain treatment of certain

              priority creditors; the Plan either provides the requisite treatment and all such priority




Page 4 of 7    DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                       VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
               CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                       319 SW Washington Street, Suite 520
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                                   Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869



                           Case 20-32571-dwh11       Doc 120     Filed 01/18/21
              claims, aside from the priority tax claims, have been satisfied post-petition. Ariniello

              Decl. ¶¶ 16-26; Plan ¶¶ 2.1(B) and 2.2(B).

      12.     Section 1129(a)(10) provides that the Plan must be accepted by at least one

              impaired class of claims; at least one class of claims that is impaired under the Plan

              has accepted the Plan. Ariniello Decl. ¶ 27.

      13.     Section 1129(a)(11) provides that the court must find that confirmation is not likely to

              be followed by liquidation or further reorganization; the Debtor’s revised financial

              projections, attached to the Ariniello Decl. as Exhibit 1 and as made applicable to the

              Plan via the Order Confirming Plan, indicate that it will be able to perform its

              obligations under the Plan. Ariniello Decl. ¶¶ 28-30, Ex. 1.

      14.     Section 1129(a)(12) provides that all fees under Section 1930 of Title 28 have or will

              be paid; the Debtor has complied with this requirement. Ariniello Decl. ¶ 31.

      15.     Section 1129(a)(13), which provides certain requirements regarding continuation of

              retiree benefits, does not apply to this case. Ariniello Decl. ¶ 32.

      16.     Section 1129(a)(14) requires payment of post-petition Domestic Support Obligations;

              does not apply to this case. Ariniello Decl. ¶ 33.

      17.     Section 1129(a)(15) is inapplicable in a case brought under Subchapter V. 11 U.S.C.

              §§ 1191(a) and (b); In re Olson, No. 20-23408 (RKM), 2020 Bankr. LEXIS 2439, at

              *11 (Bankr. D. Utah Sept. 16, 2020).

      18.     Section 1129(a)(16) requires that all transfers of property under the Plan shall be

              made in accordance with any applicable provisions of nonbankruptcy law that govern

              the transfer of property by a corporation or trust; does not apply to this case. Ariniello

              Decl. ¶ 34.


Page 5 of 7    DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                       VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                      319 SW Washington Street, Suite 520
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                                  Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



                            Case 20-32571-dwh11      Doc 120       Filed 01/18/21
      19.     Section 1191(b) requires that the plan not discriminate unfairly and be fair and

              equitable; the Plan complies with this requirement. Ariniello Decl. ¶ 35; Plan ¶¶

              2.1(A) and 6.1. The Bankruptcy Code does not define what is ‘fair and equitable.’ In

              re Tucker, 479 B.R. 873, 878 (Bankr. D. Or. 2012). Instead, the Court is to look at a

              variety of factors. Id. at 879 (citing In re Dollar Assocs., 172 B.R. 945 (Bankr. N.D.

              Cal. 1994)). Those factors include (1) whether the plan furthers the reorganization

              goal of preserving equity of the debtor; (2) whether the plan preserves jobs and going

              concern value; (3) whether the plan significantly furthers the goal of maximizing

              distribution to creditors; and (4) whether the plan has been rejected by the

              overwhelming majority of claims. Id.

      20.     Separately, under Section 1191, the absolute priority rule does not apply in a

              Subchapter V confirmation. “Notably, in a subchapter V case, the absolute priority

              rule under § 1129(b)(2)(B) is eliminated for cramdown, which will allow existing

              owners to retain their full ownership without giving any new value, but only if the plan

              provides for the debtor to distribute all of its projected disposable income over at least

              three years from the date the first payment is due under the plan (or property having

              a value of at least that amount)”. In re Pearl Res. LLC, Nos. 20-31585, 20-31586,

              2020 Bankr. LEXIS 2683, at *65 (Bankr. S.D. Tex. Sep. 30, 2020); See also In re

              Body Transit, Inc., No. 20-10014 ELF, 2020 Bankr. LEXIS 2111, at *34 n.27 (Bankr.

              E.D. Pa. Aug. 7, 2020) (“[T]he ‘absolute priority rule’ of 11 U.S.C. § 1129(b)(2)(B)(ii)

              does not apply in subchapter V.”); In re Players Network, No. 20-12890-MKN, 2020

              Bankr. LEXIS 3016, at *3 n.6 (Bankr. D. Nev. Oct. 23, 2020) (“Confirmation of a

              Subchapter V plan does not require compliance with Section 1129(b)(2)(B).”).


Page 6 of 7    DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                      VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
               CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                     319 SW Washington Street, Suite 520
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                                 Portland, Oregon 97204-2690
                                                                                                (503) 241-4869



                          Case 20-32571-dwh11        Doc 120    Filed 01/18/21
      21.     The Plan furthers the reorganizational goal of preserving the equity of the Debtor; the

              Plan provides for the equity interest holders to retain such interest in the Debtor post-

              confirmation in the same manner as such interest was held pre-petition. Plan

              ¶ 2.2(D). The Plan preserves jobs and going concern value. Plan ¶¶ 1.2 and 2.5;

              Ariniello Decl. ¶ 36. The Plan furthers the goal of maximizing distribution to creditors;

              creditors achieve a similar result as to what they would receive in a hypothetical

              chapter 7 liquidation as unsecured creditors will receive an estimated $594,390.13

              under the Plan. Plan ¶ 2.2(C), Ex. 2.

      22.     The Order Fixing Time for Filing Acceptances or Rejections of the Plan; and Notice of

              Confirmation Hearing, the Plan, and an appropriate ballot were transmitted and

              served on all parties entitles to copies thereof (including all persons entitled to vote

              on the Plan) in substantial compliance with the Bankruptcy Code, Bankruptcy Rules,

              and relevant orders of the Court. Certificate of Service (Doc. #102); Ariniello Decl.

              ¶ 37.

      23.     As demonstrated herein, the Plan, as to be modified by the Order Confirming Plan,

              complies with the requirements for confirmation; the Plan should be confirmed.

                                                 VANDEN BOS & CHAPMAN, LLP



                                                 By:/s/Daniel C. Bonham
                                                   Douglas R. Ricks, OSB #044026
                                                   Daniel C. Bonham, OSB #183104
                                                   Of Attorneys for Debtor-in-Possession




Page 7 of 7    DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF                       VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,                      319 SW Washington Street, Suite 520
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                                  Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



                          Case 20-32571-dwh11         Doc 120    Filed 01/18/21
                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                          Bankruptcy Case No.: 20-32571-dwh11

       U.S. Outdoor Holding LLC,                      ORDER CONFIRMING DEBTOR-IN-
                                                      POSSESSION’S CHAPTER 11,
                      Debtor-in-Possession            SUBCHAPTER V, PLAN DATED
                                                      DECEMBER 3, 2020

               Debtor-in-Possession U.S. Outdoor Holding LLC’s (“Debtor-in-Possession” or

      “Debtor”) Chapter 11, Subchapter V, Plan Dated December 3, 2020 (the “Plan”) having

      been filed by the Debtor and a hearing having been held before this Court on January 21,

      2021; and the Court finds that after hearing that the requirements for confirmation set forth

      in 11 U.S.C. §1191(b) are satisfied;

               The Court further finds that the Plan was properly transmitted to creditors and parties

      in interest and that all objections to the Plan, if any, have been resolved

               The Court further finds that the proposed amendments by interlineation set forth

      below to Debtor’s Plan do not adversely change the treatment of the claim of any creditor or

      the interest of any equity security holder who has not accepted in writing the amendments,


Page 1 of 3     ORDER CONFIRMING DEBTOR-IN-POSSESSION’S CHAPTER 11,                 VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
                SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                             319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869

      Exhibit 1 - Page 1 of 45
                           Case 20-32571-dwh11       Doc 120    Filed 01/18/21
      and therefore, such amendments shall be deemed accepted by all creditors and equity

      security holders (if applicable) who have previously accepted the Plan; and

      NOW, THEREFORE, IT IS ORDERED AS FOLLOWS:

              1.   The Chapter 11, Subchapter V, Plan Dated December 3, 2020 filed by the

      Debtor, a copy of which is attached to this Order marked Exhibit A, is confirmed.

              2.   Without limitation, the following amendments by interlineation to Debtor’s Plan

      shall be made:

                   a. Exhibit 1 to the Plan is deleted and replaced by the revised financial

                       projections attached hereto as Exhibit B.

                   b. Add the following to the end of Article 1.10 “The Debtor shall have the

                       exclusive right to pursue such avoidable transfers within one (1) year

                       following effective date, after such time the Trustee may also pursue such

                       avoidable transfers in the Trustee’s sole discretion.”

                   c. Add the following to the end of the treatment section for Article 2.2(A),

                       Class 7 “Any remaining secured claim after surrender shall be subject to

                       avoidance under § 545. All remaining amounts due on the Claim in this

                       Class, after surrender of the collateral, avoidance of the remaining secured

                       claim, and payment of the administrative rent component, shall be treated

                       as a general unsecured claim as provided in ¶3(g) of this Plan.”




Page 2 of 3    ORDER CONFIRMING DEBTOR-IN-POSSESSION’S CHAPTER 11,               VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                            319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869

      Exhibit 1 - Page 2 of 45
                        Case 20-32571-dwh11        Doc 120    Filed 01/18/21
                                                    ###


       PRESENTED BY:                                  First Class Mail:

       VANDEN BOS & CHAPMAN, LLP                      U.S. Outdoor Holding LLC
                                                      c/o Edward A. Ariniello
                                                      29455 SW Heater Road
                                                      Sherwood, OR 97140
       By:/s/Douglas R. Ricks
          Douglas R. Ricks, OSB #044026               Electronic Mail:
          Of Attorneys for Debtor-in-Possession
                                                      The foregoing was served on all CM/ECF
       LBR 9021-1 CERTIFICATION                       participants through the Court's Case
       I certify that I have complied with the        Management/Electronic Case File system.
       requirement of LBR 9021-1(a); the form of
       order was circulated prior to the hearing.

       By:/s/Douglas R. Ricks
          Douglas R. Ricks, OSB #044026
          Of Attorneys for Debtor-in-Possession




Page 3 of 3   ORDER CONFIRMING DEBTOR-IN-POSSESSION’S CHAPTER 11,              VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
              SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                          319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
                                                                                           (503) 241-4869

      Exhibit 1 - Page 3 of 45
                        Case 20-32571-dwh11         Doc 120   Filed 01/18/21
Douglas R. Ricks, OSB #044026
Daniel C. Bonham, OSB #183104
VANDEN BOS & CHAPMAN, LLP
319 SW Washington St., Ste. 520
Portland, OR 97204
Telephone: 503-241-4869
Fax: 503-241-3731

         Of Attorneys for Debtor-in-Possession


                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

 In re                                           Case No. 20-32571-dwh11

 U.S. Outdoor Holding LLC,                       CHAPTER 11, SUBCHAPTER V, PLAN
                                                 (Dated: 12/3/2020)
                  Debtor-in-Possession.

                SMALL BUSINESS DEBTOR’S PLAN OF REORGANIZATION

You are encouraged to carefully review the full text of this document, including all exhibits
and attachments, before deciding how to vote on the Plan. To assist you in your review,
please note that a list of definitions and a section of frequently asked questions appear at
the end of this document.

IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU
MAY OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO OBJECT TO
CONFIRMATION OF THE PLAN, YOU MUST DO SO BY THE DATE SET FORTH IN THE
NOTICE OF CONFIRMATION HEARING, WHICH WILL BE MAILED TO YOU
SEPARATELY.

YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE
RETURNED BY DATE PROVIDED IN THE COURT’S ORDER FIXING TIME FOR FILING
ACCEPTANCES OR REJECTIONS OF PLAN; AND NOTICE OF CONFIRMATION
HEARING. THE BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS: VANDEN
BOS & CHAPMAN, LLP, 319 SW WASHINGTON ST., STE. 520, PORTLAND, OR 97204.

Your rights may be affected by this Plan. You should consider discussing this document
with an attorney.

Questions regarding this Plan may be directed to the Attorneys for the Debtor-in-
Possession using the contact information provided above.




   Exhibit A - Page 1 of 38
   Exhibit 1 - Page 4 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
                                   ARTICLE 1
              HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

      1.1.    Nature of the Debtor’s Business.

       U.S. Outdoor Holding LLC is a limited liability company headquartered in Portland,
Multnomah County, Oregon. Debtor is a retailer and outfitter for outdoor sports and activities,
including camping, hiking, skiing, snowboarding, and more.

      1.2.    History of Business Operations of the Debtor

        The Solomon family opened the U.S. Outdoor store in 1957 after having operated as the
U.S. Army Surplus Store for a time before that. The Solomons moved the U.S. Outdoor Store to
its location on Broadway Street in downtown Portland, Oregon in 1986 and had operated the
store at that same location until 2017. Edward Ariniello purchased the store in 2017 and
organized U.S. Outdoor Holding LLC on April 20 of that same year. On August 30, 2019, U.S.
Outdoor Holding LLC received additional investment from Aaron Unverzagt and Alecia Pollard,
which provided each of them with a membership interest in the Debtor and reduced Edward
Ariniello’s membership interest accordingly. Preceding the filing of this bankruptcy case, Debtor
moved its operations to a new retail location in Northwest Portland. The Debtor’s operation
employs 13 employees (including salaried and hourly employees) at its Portland location.

      1.3.    Filing of the Debtor’s Chapter 11 Case.

      On September 4, 2020, the Debtor filed a voluntary petition for relief under the Bankruptcy
Code. The Chapter 11 case is pending in the Bankruptcy Court in Portland, Oregon.

      1.4.    Legal Structure and Ownership.

      Membership interests in the Debtor are as follows:


              Edward Ariniello:   68.4%
              Aaron Unverzagt: 15.8%
              Alecia Pollard:     15.8%

      1.5.    Debtor’s Assets.

       A Summary of the Debtor’s Assets is included on Exhibit 2, attached hereto. The
valuations for the assets are based on the Debtor’s assessment of the market values.

      1.6.    Debtor’s Liabilities.

      A Claims Summary is included on Exhibit 3, attached hereto.




   Exhibit A - Page 2 of 38
   Exhibit 1 - Page 5 of 45
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                              90 Filed
                                                 Filed12/03/20
                                                       01/18/21
       1.7.    Current and Historical Financial Conditions.

       The Debtor’s Financial Performance for 2017, 2018, and 2019 are summarized on Exhibit
5, attached hereto. A balance sheet and profit and loss statement for October 2020 that were
included with most recent Rule 2015 Report are also included with Exhibit 5.

       1.8.    Events Leading to the Filing of the Bankruptcy Case.

         The COVID-19 pandemic, social unrest in Downtown Portland, and the dramatic customer
move to online retail from brick-and-mortar stores has rendered the Debtor’s previous business
model untenable. Leasing a large retail space in Downtown Portland became impossible to
justify, and the Debtor’s recent move attempts to find a more sustainable operation.

       In addition to the above, Debtor's bankruptcy filing has been precipitated by the financing
related to the acquisition of the Debtor by Edward Ariniello. SMI, the Creditor for that financing,
has a significant claim but has failed to properly perfect its security interest in the Debtor’s assets.
Debtor’s position is that Lender’s security interest is avoidable in bankruptcy and SMI’s claim
would then be treated as wholly unsecured.

       SMI is also affiliated with the Debtor’s now-former landlord. As noted above, that lease
was for an above-market rate and comprised a location and space that were incompatible with
the Debtor’s needs and financial situation. Debtor has rejected that lease and intends to assume
the lease for its new location.

       1.9.    Significant Events During the Bankruptcy Case.

       The Debtor has taken a number of steps in anticipation of the filing and confirmation of this
Plan. These include, but are not limited to, the following:

               •   Approval on use of cash collateral through the anticipated Confirmation Date;
               •   Applications to employ General Counsel, a professional CFO, and a tax
                   professional;
               •   Relocation to a more sustainable retail location and rejection of the lease for
                   the prior business location;
               •   Outreach and agreement with a number of important vendors to secure
                   deliveries of new inventory on a prepaid or COD basis; and
               •   Dialogue and consultation with the Trustee to attempt to reach a consensual
                   Plan.

       1.10.   Projected Recovery of Avoidable Transfers.

      The Debtor has not yet completed its investigation with regard to prepetition transactions.
The Debtor anticipates completing its investigation by May 31, 2021 and retains all rights to
pursue any actions arising under chapter 5 of the Code after the Confirmation Date. If you



   Exhibit A - Page 3 of 38
   Exhibit 1 - Page 6 of 45
                        Case
                        Case20-32571-dwh11
                             20-32571-dwh11 Doc
                                            Doc120
                                                90 Filed
                                                   Filed12/03/20
                                                         01/18/21
received a payment or other transfer of property within 90 days of bankruptcy, the Debtor may
seek to avoid such transfer. Any funds recovered from such avoided transfers shall be used to
make additional payments to Creditors under the Plan.

                                            ARTICLE 2
                                            THE PLAN

       The Debtor's Plan must describe how its Creditors will be paid. Certain Claims are entitled
to specific treatment under the Bankruptcy Code and are not placed in a class for purpose of
payment. For example, Administrative Expenses and Priority Tax Claims are not classified.

        As required by the Code, the Plan places Claims and Equity Interests in various classes
and describes the treatment each class will receive. The Plan also states whether each class of
Claims or Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if
the Plan alters the legal, equitable or contractual rights to which the Claimants are otherwise
entitled. If the Plan is confirmed, each Creditor’s recovery is limited to the amount provided in the
Plan.

       Only Creditors in classes that are impaired may vote on whether to accept or reject the
Plan, and only Creditors holding Allowed Claims may vote. A class accepts the Plan when more
than one-half (1/2) in number and at least two-thirds (2/3) in dollar amount of the Allowed Claims
that actually vote, vote in favor of the Plan. Also, a class of Equity Interest holders accepts the
Plan when at least two-thirds (2/3) in amount of the allowed Equity Interest holders that actually
vote, vote in favor of the Plan. A class that is not impaired is deemed to accept the Plan.

       2.1.   Unclassified Claims.

       Certain types of Claims are automatically entitled to specific treatment under the Code. For
example, Administrative Expenses and Priority Tax Claims are not classified. They are not
considered impaired, and holders of such Claims do not vote on the Plan. They may, however,
object if, in their view, their treatment under the Plan does not comply with that required by the
Code. As such, the Plan does not place the following Claims in any class:

              A.     Administrative Expenses.

              The Debtor must pay all Administrative Expenses in full. If an Administrative
Expense is disputed, the Bankruptcy Court must determine the validity and amount of the
Administrative Expense, or in other words, "allow" the Administrative Expense. Any
Administrative Expense that is undisputed and is due and owing on the Confirmation Date must
be paid in accordance with this Plan, or upon such other terms as agreed upon by the Debtor and
the Administrative Claimant or court order. If the Administrative Expense is disputed, payment will
be made after the Administrative Expense is allowed by the Bankruptcy Court.

              There are several types of Administrative Expenses, including the following:

              1.     If the Debtor trades in the ordinary course of business following
                     its filing of the Chapter 11 Case, Creditors are entitled to be paid
                     in full for the goods or services provided. This ordinary trade debt


   Exhibit A - Page 4 of 38
   Exhibit 1 - Page 7 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
                    incurred by the Debtor after the Petition Date will be paid on an
                    ongoing basis in accordance with the ordinary business
                    practices and terms between the Debtor and its trade Creditors.

             2.     If the Debtor received goods it has purchased in the ordinary
                    course of business within 20 days before the Petition Date, the
                    value of the goods received is an Administrative Expense.

             3.     Administrative Expenses also include any post-petition fees and
                    expenses allowed to professionals, including the allowed claim
                    of the Trustee for fees and/or reimbursements, and for attorneys
                    and accountants employed upon Bankruptcy Court authority to
                    render services to the Debtor during the course of the Chapter
                    11 cases. These fees and expenses must be noticed to Creditors
                    and approved by the Bankruptcy Court prior to payment.

      The following chart lists the Debtor’s estimated Administrative Expenses, and their
proposed treatment under the Plan:

                    Type                   Estimated Amount Owed          Proposed Treatment
      Expenses arising in the ordinary               None                         N/A
      course of business after the
      Petition Date
      The value of goods received in                 None                         N/A
      the ordinary course of business
      within 20 days before the Petition
      Date
      Administrative Rent Expense        $30,000 (subject to allowance Paid in full from Initial
                                              and any objections)           Plan Payment
      Professional fees, as approved               $60,000            Upon application under
      by the Bankruptcy Court                                         §330 and after
                                                                      Bankruptcy Court
                                                                      approval, paid in full
                                                                      from Initial Plan Payment
      Subchapter V Trustee                         $10,000            Upon application under
                                                                      §330 and after
                                                                      Bankruptcy Court
                                                                      approval, paid in full
                                                                      from Initial Plan Payment
      TOTAL                                        $100,000


             B.     Priority Tax Claims.

               Priority Tax Claims are unsecured income, employment, and other taxes described
by § 507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees
otherwise, it must receive the present value of such Claim, in regular installments paid over a



   Exhibit A - Page 5 of 38
   Exhibit 1 - Page 8 of 45
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                              90 Filed
                                                 Filed12/03/20
                                                       01/18/21
period not exceeding 5 years from the order of relief.

             Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

  Name of Taxing Authority          Estimated Amount Owed                      Treatment
 IRS                                        $59,642                This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 ODR                                          $24,260              This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 DCBS                                         $1,127               This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 OED                                          $18,169              This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.




   Exhibit A - Page 6 of 38
   Exhibit 1 - Page 9 of 45
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                              90 Filed
                                                 Filed12/03/20
                                                       01/18/21
       2.2.   Classes of Claims and Equity Interests.

       The following are the classes set forth in the Plan, and the proposed treatment that they will
receive under the Plan:

              A.               Classes of Secured Claims.

               Allowed Secured Claims are Claims secured by property of the Debtor’s bankruptcy
estate (or that are subject to setoff) to the extent allowed as secured Claims under § 506 of the
Code. If the value of the collateral or setoffs securing the Creditor’s Claim is less than the amount
of the Creditor’s Allowed Claim, the deficiency will be classified as a general unsecured Claim. In
addition, certain claims secured only by the debtor's principal residence, may require different
treatment pursuant to § 1190(3) of the Code as set forth below, if applicable.

             The following chart lists all classes containing the Debtor’s secured prepetition
Claims and their proposed treatment under the Plan:

                              Claim
 Class Description           Amount         Impairment                     Treatment
   1   SBA                 $150,154.11     Unimpaired       The Claim in this Class shall be treated
                                                            in accordance with the applicable
                                                            agreements with the SBA, including,
                                                            but limited to, payments to be made
                                                            directly to the SBA in the amount of
                                                            $731 per month beginning in June
                                                            2021 and continuing in such amount
                                                            through June 2050.
   2     Tecnica           $50,297.91      Impaired         The Claim in this Class is modified to
                                                            provide for annual payments beginning
                                                            on the Initial Payment Due Date with
                                                            subsequent payments in January of
                                                            each year through the year 2024 as
                                                            outlined on Exhibit 1. Class 2 shall
                                                            accrue interest at the rate of 4.25% per
                                                            annum (WSJ prime rate as of
                                                            12/3/2020 of 3.25% plus a 1% risk
                                                            premium) from the confirmation date.
   3     Burton            $64,302.43      Impaired         The Claim in this Class is modified to
                                                            provide for annual payments beginning
                                                            on the Initial Payment Due Date with
                                                            subsequent payments in January of
                                                            each year through the year 2024 as
                                                            outlined on Exhibit 1. Class 3 shall
                                                            accrue interest at the rate of 4.25% per
                                                            annum (WSJ prime rate as of
                                                            12/3/2020 of 3.25% plus a 1% risk
                                                            premium) from the confirmation date.


   Exhibit A - Page 7 of 38
   Exhibit 1 - Page 10 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
                          Claim
Class Description        Amount       Impairment                   Treatment
  4   NFI               $74,567.20   Impaired      The Claim in this Class is modified to
                                                   provide for annual payments beginning
                                                   on the Initial Payment Due Date with
                                                   subsequent payments in January of
                                                   each year through the year 2024 as
                                                   outlined on Exhibit 1. Class 4 shall
                                                   accrue interest at the rate of 4.25% per
                                                   annum (WSJ prime rate as of
                                                   12/3/2020 of 3.25% plus a 1% risk
                                                   premium) from the confirmation date.
 5     IRS              $92,733.84   Impaired      The Claim in this Class will be paid in
                                                   annual payments beginning on the
                                                   Initial Payment Due Date with
                                                   subsequent payments in January of
                                                   each year through the year 2024 as
                                                   outlined on Exhibit 1. Class 5 shall
                                                   accrue interest at the rate specified by
                                                   § 511(b) from the confirmation date.
 6     Multnomah        $1,609.57    Unimpaired    The Claim in this Class will be paid in
       County                                      its entirety (together with interest at the
                                                   rate allowed under § 511(b) and
                                                   applicable non-bankruptcy law) from
                                                   the Total Payment made on the Initial
                                                   Payment Due Date as outlined on
                                                   Exhibit 1.
 7     Solomon         $193,128.90   Unimpaired    The Claim in this Class will be satisfied
       Trust                                       by surrender of the collateral subject to
                                                   the landlord’s lien (i.e. any personal
                                                   property located on the property in
                                                   connection with the rejected lease with
                                                   Solomon Trust as of the date of such
                                                   rejection) and Debtor’s security
                                                   deposit.
 8     SMI            $1,269,784.99 Impaired       The Disputed Claim in this Class is
                                                   subject to avoidance as the asserted
                                                   lien interest was based on a security
                                                   interest, which was never perfected.
                                                   Debtor shall file an adversary
                                                   proceeding and claim objection no later
                                                   than thirty (30) days after the Effective
                                                   Date for avoidance of the asserted lien
                                                   interest of SMI and disallowance of
                                                   SMI’s secured claim. If the Debtor
                                                   prevails in the adversary proceeding
                                                   and claim objection, then the claim in


 Exhibit A - Page 8 of 38
 Exhibit 1 - Page 11 of 45
                   Case
                   Case20-32571-dwh11
                        20-32571-dwh11 Doc
                                       Doc120
                                           90 Filed
                                              Filed12/03/20
                                                    01/18/21
                               Claim
 Class    Description         Amount         Impairment                       Treatment
                                                              this Class shall be treated as a general
                                                              unsecured claim as provided in ¶3(g) of
                                                              this Plan. If the Debtor does not prevail
                                                              in the adversary proceeding and claim
                                                              objection, then within thirty (30) days of
                                                              entry of a non-appealable judgment
                                                              and order in such proceedings, Debtor
                                                              shall amend the Plan to provide for
                                                              treatment on the claim in this Class in
                                                              the same manner as Class 2, herein.

              B.     Classes of Priority Unsecured Claims.

             Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the
Code are required to be placed in classes. The Code requires that each holder of such a Claim
receive cash on the Effective Date of the Plan equal to the allowed amount of such Claim.
However, a class of holders of such Claims may vote to accept different treatment.

              Debtor believes that all Claims entitled to priority under §§ 507(a)(1), (4), (5), (6),
and (7) of the Code have been satisfied post-petition.

              C.     Classes of General Unsecured Claims.

               General unsecured Claims are not secured by property of the estate and are not
entitled to priority under § 507(a) of the Code.

             The following chart identifies the Plan’s proposed treatment of Class 9, which
contains general unsecured Claims against the Debtor:

  Class         Description           Impairment                          Treatment
    9       General Unsecured       Impaired           The claims in this Class will be paid based
            Class                                      on the amounts required by § 1129(a)(7),
                                                       which the Debtor estimates to be
                                                       $594,390.13 based on the liquidation
                                                       analysis attached hereto as Exhibit 2.
                                                       Creditors will receive approximately 16.5%
                                                       of their claims. Payment of any dividend will
                                                       depend on the amounts of allowed secured,
                                                       priority (including costs of administration
                                                       and the Debtor’s attorney’s fees), and
                                                       nonpriority unsecured claims. Unsecured
                                                       claims will be paid after payment of
                                                       administrative and priority classes on a pro
                                                       rata basis on an annual basis as outlined on
                                                       Exhibit 1.


   Exhibit A - Page 9 of 38
   Exhibit 1 - Page 12 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
                D.    Class of Equity Interest Holders.

               Equity Interest holders are parties who hold an ownership interest (i.e., equity
interest) in the Debtor. In a limited liability company (“LLC”), the Equity Interest holders are the
members.
               The following chart sets forth the Plan’s proposed treatment of the class of Equity
Interest holders:


  Class                   Description                Impairment                Treatment
 10           Equity Interest Holders               Impaired         Equity Interest Holders shall
                                                                     retain such interest in the
                                                                     Debtor post-confirmation in the
                                                                     same manner as such interest
                                                                     was held pre-confirmation.

       2.3.     Treatment of Claims Objections.

        The Debtor may object to the amount or validity of any Claim within 60 days of the
Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the
objection on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim under
the Plan. If and when a Disputed Claim is finally resolved by the allowance of the Claim in whole or
in part, the Debtor will pay the Allowed Claim in accordance with the Plan.

       2.4.     Treatment of Executory Contracts and Unexpired Leases.

       Executory Contracts are contracts where significant performance of the contract remains for
both the Debtor and another party to the contract. The Debtor has the right to reject, assume (i.e.
accept), or assume and assign these types of contracts to another party, subject to the Bankruptcy
Court’s approval. The paragraphs below explain the Debtor’s intentions regarding its Executory
Contracts (which includes its unexpired leases) and the impact such intentions would have on the
other parties to the contracts.
       Check all that apply:
       [X] Assumption of Executory Contracts.
        The Executory Contracts shown on Exhibit 4 shall be assumed by the Debtor. Assumption
means that the Debtor has elected to continue to perform the obligations under such contracts and
unexpired leases, and to cure defaults of the type that must be cured under the Bankruptcy Code,
if any. Exhibit 4 also lists how the Debtor will cure and compensate the other party to such contract
or lease for any such defaults.
       If you object to the assumption of your unexpired lease or executory contract, the proposed
cure of any defaults, or the adequacy of assurance of future performance, you must file and serve
your objection to the assumption within the deadline for objecting to the confirmation of the Plan,
unless the Bankruptcy Court has set an earlier time.




   Exhibit A - Page 10 of 38
   Exhibit 1 - Page 13 of 45
                        Case
                        Case20-32571-dwh11
                             20-32571-dwh11 Doc
                                            Doc120
                                                90 Filed
                                                   Filed12/03/20
                                                         01/18/21
                              OR [ ] Assumption and Assignment of
                            Executory Contracts and Unexpired Leases.

       Assumption and assignment by the Debtor means that the Debtor will undertake the
obligations under such contracts and unexpired leases, will cure defaults of the type that must be
cured under the Bankruptcy Code, if any, and will assign the contract to the party listed.

        If you object to the assumption and assignment of your unexpired lease or executory contract,
the proposed cure of any defaults, or the adequacy of assurance of future performance, you must
file and serve your objection to the assumption and assignment within the deadline for objecting to
the confirmation of the Plan, unless the Bankruptcy Court has set an earlier time.

                              OR [X] Rejection of Executory Contracts
                                      and Unexpired Leases.

       The Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly shown on Exhibit 4, or not assumed before the date of the order
confirming the Plan.

       Rejection means that the Debtor has elected not to continue to perform the obligations under
such contracts or leases. If the Debtor has elected to reject a contract or lease, the other party to
the contract or lease will be treated as an unsecured Creditor holding a Claim that arose before the
bankruptcy was filed.

       2.5.   Means for Implementation of the Plan.

        The Plan will be performed and implemented through continued business operations of the
Reorganized Debtor. Based on the Debtor’s Financial Projections, operations will generate
sufficient sales to perform all of the obligations under the plan, which include payment in full on all
Allowed Secured and Priority Tax Claims and payment to Allowed Unsecured Claims in an amount
sufficient to satisfy the requirements of § 1129(a)(7) and § 1191(c).

        On Confirmation of the Plan, all property of the Debtor, tangible and intangible, including,
without limitation, licenses, furniture, fixtures and equipment, will revert, free and clear of all Claims
and Equitable Interests except as provided in the Plan, to the Debtor. The Debtor expects to have
sufficient cash on hand to make the payments required on the Effective Date.
        The Managing Member of the Debtor immediately prior to the Effective Date shall serve as
the initial Managing Member of the Reorganized Debtor on and after the Effective Date. Each
member of the Debtor shall serve in accordance with applicable non-bankruptcy law and the
Debtor’s articles of organization, as each of the same may be amended from time to time.

       2.6.   Payments.

     If the Plan is confirmed under § 1191(a), payments to Creditors provided for in the Plan will
be made by the Trustee pursuant to § 1194(a). Once the Trustee’s service is terminated under §


   Exhibit A - Page 11 of 38
   Exhibit 1 - Page 14 of 45
                        Case
                        Case20-32571-dwh11
                             20-32571-dwh11 Doc
                                            Doc120
                                                90 Filed
                                                   Filed12/03/20
                                                         01/18/21
1183(c), the Debtor shall make Plan payments except as otherwise provided in the Plan or in the
order confirming the Plan.
       If the Plan is confirmed under § 1191(b), except as otherwise provided in the Plan or in the
order confirming the Plan, the Trustee shall make all Plan payments to creditors under the Plan.

        2.7.   Post-Confirmation Management.

        The Post-Confirmation Officers/Managers of the Debtor, and their compensation, shall be
as follows:


               Edward Ariniello, Managing Member, Salary - $3,000 bi weekly

        2.8.   Tax Consequences of the Plan.

      Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

        The following are the anticipated tax consequences of the Plan: (1) Assuming the Plan is
confirmed under § 1191(b), there will be no anticipated tax consequences to the Debtor of the Plan.
Confirmation of the Plan under § 1194(a) would general a loss of tax attributes and higher income
tax liability during the performance of the Plan; (2) Debtor is unaware of any tax consequences on
Creditors of any discharge, and any tax consequences of receipt of Plan consideration after
Confirmation.


        2.9.   Projections in Support of Debtor’s Ability to Make Payments Under the
               Proposed Plan


        Debtor has provided projected financial information. Those projections are listed in Exhibit
1.

                                          ARTICLE 3
                                      FEASIBILITY OF PLAN

       The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed by
the liquidation, or the need for further financial reorganization, of the Debtor or any successor to
the Debtor, unless such liquidation or reorganization is proposed in the Plan.

        3.1.   Ability to Initially Fund Plan.

       The Debtor believes that the Debtor will have enough cash on hand on the Effective Date of
the Plan to pay all the Claims and expenses that are entitled to be paid on the Initial Payment Due
Date. Tables showing the amount of cash on hand on the Effective Date of the Plan, and the
sources of that cash, are attached hereto as Exhibit 1(referenced in § 2.9, above).



     Exhibit A - Page 12 of 38
     Exhibit 1 - Page 15 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
       3.2.   Ability to Make Future Plan Payments And Operate Without Further
              Reorganization.

      The Debtor must submit all or such portion of the future earnings or other future income of
the Debtor to the supervision and control of the Trustee as is necessary for the execution of the
Plan.

       The Debtor has provided projected financial information. Those projections are listed in
Exhibit 1 (referenced in § 2.9, above).


        The Debtor’s financial projections show that the Debtor will have an aggregate annual
average cash flow, after paying operating expenses and post- confirmation taxes, of $370,811. The
final Plan payment is expected to be paid on January 31, 2024.


       The Debtor’s financial projections assume a modest level of year-over-year sales growth
(less than 5% per year) and assume increases in operating expenses at the same rate. This is
consistent with past market experience, with the exception of the past year (due to the unexpected
and overwhelming impact of the COVID-19 pandemic).


      You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.

                                         ARTICLE 4
                                   LIQUIDATION ANALYSIS.

      To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest
holders who do not accept the Plan will receive at least as much under the Plan as such Claimants
and Equity Interest holders would receive in a Chapter 7 liquidation. A liquidation analysis is
attached hereto as Exhibit 2.

                                            ARTICLE 5
                                           DISCHARGE.

       5.1.   Discharge As § 1141(d)(3) is not Applicable.

       Discharge. If the Plan is confirmed under § 1191(a), on the Confirmation Date of this Plan,
the Debtor will be discharged from any debt that arose before confirmation of this Plan, subject to
the occurrence of the Effective Date, to the extent specified in § 1141(d) of the Bankruptcy Code;
or

      If the Plan is confirmed under § 1191(b), as soon as practicable after completion by the
Debtor of all payments due under the Plan, unless the court approves a written waiver of discharge
executed by the Debtor after the order for relief under this chapter, the court shall grant the Debtor



   Exhibit A - Page 13 of 38
   Exhibit 1 - Page 16 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
a discharge of all debts provided in section 1141(d)(1)(A) of this title, and all other debts allowed
under section 503 of this title and provided for in this Plan, except any debt—

              (1)    on which the last payment is due after the first 3 years of the
                     plan, or such other time not to exceed 5 years fixed by the
                     court; or
              (2)    if applicable, of the kind specified in section 523(a) of this title.

                                           ARTICLE 6
                                      GENERAL PROVISIONS.

       6.1.   Title to Assets.

        If a plan is confirmed under § 1191(a), except as otherwise provided in the Plan or in the
order confirming the Plan, (i) confirmation of the Plan vests all of the property of the estate in the
Debtor, and (ii) after confirmation of the Plan, the property dealt with by the Plan is free and clear
of all Claims and Equity Interests of Creditors, equity security holders, and of general partners in
the Debtor.

       If a plan is confirmed under § 1191(b), property of the estate includes, in addition to the
property specified in § 541, all property of the kind specified in that section that the Debtor acquires,
as well as earnings from services performed by the Debtor, after the date of commencement of the
case but before the case is closed, dismissed, or converted to a case under chapter 7, 12, or 13 of
the Bankruptcy Code, whichever occurs first. Except as provided in § 1185 of the Bankruptcy Code,
the Plan, or the order confirming the Plan, the Debtor shall remain in possession of all property of
the estate.

       6.2.   Binding Effect.

        If the Plan is confirmed, the provisions of the Plan will bind the Debtor and all Creditors,
whether or not they accept the Plan. The rights and obligations of any entity named or referred to in
this Plan will be binding upon and will inure to the benefit of the successors or assigns of such
entity.

       6.3.   Severability.

       If any provision in this Plan is determined to be unenforceable, the determination will in no
way limit or affect the enforceability and operative effect of any other provision of this Plan.

       6.4.   Retention of Jurisdiction by the Bankruptcy Court.

      The Bankruptcy Court shall retain jurisdiction of this case with regard to the following
matters: (i) to make such orders as are necessary or appropriate to implement the provisions of this



   Exhibit A - Page 14 of 38
   Exhibit 1 - Page 17 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
Plan and to resolve any disputes arising from implementation of the Plan; (ii) to rule on any
modification of the Plan proposed under § 1193; (iii) to hear and allow all applications for
compensation to professionals and other Administrative Expenses; (iv) to resolve all issues
regarding Claims objections, and issues arising from the assumption/rejection of executory
contracts or unexpired leases, and (v) to adjudicate any cause of action which may exist in favor
of the Debtor, including preference and fraudulent transfer causes of action.

       6.5.   Captions.


       The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.


       6.6.   Nonwaiver of Rights.

       Notwithstanding confirmation of the Plan, Debtor shall retain and does not waive any offsets,
counterclaims, or recoupment against any Creditor. Furthermore, confirmation of the Plan shall not
divest or otherwise disqualify the Debtor for any discount, forgiveness, or other relief from any
Claim provided for in the Plan, including, but not limited to, any forgiveness available pursuant to
Section 1106 of the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), any rules
implementing the CARES Act, or any other section of the CARES Act.

       6.7.   Modification of Plan.

      The Debtor may modify the Plan at any time before confirmation of the Plan pursuant to §
1193(a). However, the Bankruptcy Court may require additional items including revoting on the
Plan.
       If the Plan is confirmed under Section 1191(a), the Debtor may also seek to modify the Plan
at any time after confirmation only if (1) the Plan has not been substantially consummated and (2)
the Bankruptcy Court authorizes the proposed modifications after notice and a hearing.
       If the Plan is confirmed under Section 1191(b), the Debtor may seek to modify the Plan at
any time only if (1) it is within 3 years of the Confirmation Date, or such longer time not to exceed
5 years, as fixed by the court and (2) the Bankruptcy Court authorizes the proposed modifications
after notice and a hearing.

       6.8.   Final Decree.
        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
of Bankruptcy Procedure, the Debtor, or such other party as the Bankruptcy Court shall designate
in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain a final decree
to close the case. Alternatively, the Bankruptcy Court may enter such a final decree on its own
motion.




   Exhibit A - Page 15 of 38
   Exhibit 1 - Page 18 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
                                            ARTICLE 7
                                          ATTACHMENTS

               The following documents accompany the Plan:

              Exhibit 1 – Debtor’s Financial Projections and Schedule of Plan Payments
              Exhibit 2 – Liquidation Analysis
              Exhibit 3 – Claim Summary
              Exhibit 4 – Table of Assumed Leases
              Exhibit 5 – Debtor’s Historical Financial Performance
              Exhibit 6 – Ballot


                                       ARTICLE 8
                               FREQUENTLY ASKED QUESTIONS

       What Is the Debtor Attempting to Do in Chapter 11? Chapter 11 is the principal
reorganization chapter of the Bankruptcy Code. Under Chapter 11, a debtor attempts to restructure
the claims held against it. Formulation and confirmation of a plan of reorganization is the primary
goal of Chapter 11. When reorganization is not feasible, however, a debtor may propose a
liquidating plan under Chapter 11. The plan is the legal document which sets forth the manner and
the means by which holders of claims against a debtor will be treated.


       Why Am I Receiving This Plan? In order to confirm a plan of reorganization, the
Bankruptcy Code requires that a debtor solicit acceptances of a proposed plan, which it is doing
with this Plan. If the creditors are satisfied with the information provided in the Plan and the terms
of the Plan as proposed, and have voted for the Plan and returned the requisite number of ballots
to counsel for the Debtor, the Bankruptcy Court may confirm the Plan as proposed by the Debtor.


        How Do I Determine Which Class I Am In? To determine the class of your claim or interest,
you must first determine whether your claim is secured or unsecured. Your claim is secured if you
have a validly perfected security interest in collateral owned by the Debtor. If you do not have any
collateral, your claim is unsecured. The Table of Contents will direct you to the treatment provided
to the class in which you are grouped. The pertinent section of the Plan dealing with that class will
explain, among other things, who is in that class, what is the size of the class, what you will receive
if the Plan is confirmed, and when you will receive what the Plan has provided for you if the Plan is
confirmed. Article 2.2 lists all classes of claimants and their types of claims.


      Why Is Confirmation of a Plan of Reorganization Important? Confirmation of the Plan is
necessary because if the Plan is confirmed, the Debtor and all of its creditors are bound by the
terms of the Plan. If the Plan is not confirmed, the Debtor may not pay creditors as proposed in the
Plan while the Debtor remains in bankruptcy.



   Exhibit A - Page 16 of 38
   Exhibit 1 - Page 19 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                           Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
       What Is Necessary to Confirm a Plan of Reorganization? Confirmation of the Plan
requires, among other things, the vote in favor of the Plan of two- thirds in total dollar amount and
a majority in number of claims actually voting in each voting class. If the vote is insufficient, the
Bankruptcy Court can still confirm the Plan, but only if certain additional elements are shown
including that the plan does not discriminate unfairly, and is fair and equitable, with respect to each
class of claims or interests that is impaired under, and has not accepted, the plan.


        Am I Entitled to Vote on the Plan? Any creditor of the Debtor whose claim is IMPARIED
under the Plan is entitled to vote, if either (i) the creditor’s claim has been scheduled by the Debtor
and such claim is not scheduled as disputed, contingent, or unliquidated, or (ii) the creditor has
filed a proof of claim on or before the last date set by the Bankruptcy Court for such filings. Any
claim to which an objection has been filed (and such objection is still pending) is not entitled to
vote, unless the Bankruptcy Court temporarily allows the creditor to vote upon the creditor’s motion.
Such motion must be heard and determined by the Bankruptcy Court prior to the date established
by the Bankruptcy Court to confirm the Plan.


       How Do I Determine Whether I Am in an Impaired Class? Article 2.2 of the Plan identifies
the classes of creditors whose claims are impaired. If your claim is impaired, your vote will be
considered by the Bankruptcy Court.


         When Is the Deadline by Which I Need to Return My Ballot? The Plan is being distributed
to all claim holders for their review, consideration and approval. The deadline by which ballots must
be returned will be provided separately. Ballots should be mailed to the following address: Vanden
Bos & Chapman, LLP, Attn: Colin, 319 SW Washington St., Ste. 520, Portland, OR 97204. Must
be returned pursuant to the Court’s Order Fixing Time for Filing Acceptances or Rejections of
Plan; and Notice of Confirmation Hearing.



       How Do I Determine When and How Much I Will Be Paid? In Article 2.2 and Exhibit 1,
the Debtor has provided both written and financial summaries of what it anticipates each class of
creditors will receive under the Plan.
                                            ARTICLE 9
                                           DEFINITIONS


        9.1.   The definitions and rules of construction set forth in §§ 101 and 102 of the Bankruptcy
Code shall apply when terms defined or construed in the Code are used in this Plan. The definitions
that follow that are found in the Code are for convenience of reference only and are superseded by
the definitions found in the Code.
     9.2.     Administrative Claimant: Any person entitled to payment of an Administration
Expense.
        9.3.   Administrative Convenience Class: A class consisting of every unsecured claim
that is less than or reduced to an amount that the Bankruptcy Court approves as reasonable and
necessary for administrative convenience.

   Exhibit A - Page 17 of 38               17
   Exhibit 1 - Page 20 of 45
                       Case
                       Case20-32571-dwh11
                            20-32571-dwh11 Doc
                                            Doc120
                                               90 Filed
                                                   Filed12/03/20
                                                         01/18/21
       9.4.   Administrative Expense: Any cost or expense of administration of the Chapter 11
case entitled to priority under Section 507(a)(2) of the Code and allowed under Section 503(b) of
the Code, including without limitation, any actual and necessary expenses of preserving the Debtor’s
estate, any actual and necessary expenses incurred following the filing of the bankruptcy petition
by the Debtor-in-Possession, allowances of compensation or reimbursement of expenses to the
extent allowed by the Bankruptcy Court under the Bankruptcy Code, the allowed claim of the
Trustee for fees and/or reimbursements, and any fees or charges assessed against any of the
Debtor’s estates under Chapter 123, Title 28, United States Code.
        9.5.    Administrative Tax Claim: Any tax incurred pursuant to Section 503(b)(1)(B) of the
Code.

       9.6.   Allowed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
to the extent that: (a) a Proof of Claim was either timely filed or was filed late with leave of the
Bankruptcy Court or without objection by the Debtor, and (b) as to which either (i) a party in interest,
including the Debtor, does not timely file an objection, or (ii) is allowed by a Final Order.
       9.7.     Allowed Priority Tax Claim: A Priority Tax Claim to the extent that it is or has
become an Allowed Claim, which in any event shall be reduced by the amount of any offsets,
credits, or refunds to which the Debtor or Debtor-in-Possession shall be entitled on the Confirmation
Date.
      9.8.    Allowed Secured Claim: Allowed Secured Claims are claims secured by property of
the Debtor’s bankruptcy estate (or that are subject to setoff) to the extent allowed as secured claims
under § 506 of the Code.
       9.9.  Allowed Unsecured Claim: An Unsecured Claim to the extent it is, or has become,
an Allowed Claim, which in any event shall be reduced by the amount of any offsets, credits, or
refunds to which the Debtor or Debtor-in-Possession shall be entitled on the Confirmation Date.
       9.10. Bankruptcy Code or Code: The Bankruptcy Reform Act of 1978, as amended and
codified as Title 11, United States Code.
        9.11.   Bankruptcy Court: The United States Bankruptcy Court for the District of Oregon.
        9.12.   Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure.
        9.13.   Burton: The Burton Corporation.
       9.14. Cash: Cash, cash equivalents and other readily marketable securities or instruments
issued by a person other than the Debtor, including, without limitation, readily marketable direct
obligations of the United States of America, certificates of deposit issued by banks and commercial
paper of any entity, including interest accrued or earned thereon.
     9.15. Chapter 11 Case: This case under chapter 11 of the Bankruptcy Code in which U.S.
Outdoor Holding LLC is the Debtor-in-Possession.
        9.16. Claim: Any “right to payment from the Debtor whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured or unsecured; or any right to an equitable remedy for future performance
if such breach gives rise to a right of payment from the Debtor, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, disputed, undisputed,
secured or unsecured.” 11 U.S.C. § 101(5).

   Exhibit A - Page 18 of 38
   Exhibit 1 - Page 21 of 45                18
                        Case
                        Case20-32571-dwh11
                             20-32571-dwh11 Doc
                                            Doc120
                                                90 Filed
                                                   Filed12/03/20
                                                         01/18/21
       9.17. Class: A category of holders of claims or interests which are substantially similar to
the other claims or interests in such class.
      9.18.   Confirmation: The entry by the Bankruptcy Court of an order confirming this Plan.

       9.19. Confirmation Date: The Date upon which the Bankruptcy Court shall enter the
Confirmation Order; provided however, that if on motion the Confirmation Order or consummation
of the Plan is stayed pending appeal, then the Confirmation Date shall be the entry of the Final
Order vacating such stay or the date on which such stay expires and is no longer in effect.
      9.20.   Confirmation Hearing: The hearing to be held to consider confirmation of the Plan.
       9.21. Confirmation Order: An order of the Bankruptcy Court or any amendment thereto
confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.
       9.22. Creditor: Any person who has a Claim against the Debtor that arose on or before the
Petition Date.
      9.23.   DCBS: Oregon Department of Consumer and Business Services.
      9.24. Debtor and Debtor-in-Possession: U.S. Outdoor Holding LLC, the debtor-in-
possession in this Chapter 11 Case.
       9.25. Disputed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
that the Debtor has in any way objected to, challenged or otherwise disputed.
      9.26. Distributions: The property required by the Plan to be distributed to the holders of
Allowed Claims.
      9.27. Effective Date: That date which is 30 days after entry of the order confirming the
plan unless the plan or confirmation order provides otherwise.
      9.28.   Equity Interest: An ownership interest in the Debtor.
      9.29. Executory Contracts: All unexpired leases and executory contracts as described in
Section 365 of the Bankruptcy Code.
       9.30. Final Order: An order or judgment of the Bankruptcy Court that has not been
reversed, stayed, modified or amended and as to which (a) any appeal that has been taken has
been finally determined or dismissed, or (b) the time for appeal has expired and no notice of appeal
has been filed.
      9.31.   IRC: The Internal Revenue Code.
      9.32.   IRS: The Internal Revenue Service.
      9.33.   Initial Payment Due Date: January 31, 2021.
      9.34.   Initial Plan Payment: The payment to be made on the Initial Payment Due Date.
      9.35.   Multnomah County: Multnomah County Department of Revenue and Taxation.
      9.36.   NFI: National Funding, Inc.
      9.37.   ODR: Oregon Department of Revenue.
      9.38.   OED: Oregon Employment Department.
   Exhibit A - Page 19 of 38
   Exhibit 1 - Page 22 of 45                  19
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                               90 Filed
                                                  Filed12/03/20
                                                        01/18/21
         9.39.   Petition Date: September 4, 2020, the date the chapter 11 petition for relief was
filed.
       9.40. Plan: This Plan, either in its present form or as it may be altered, amended, or
modified from time to time.
       9.41. Priority Tax Claim: Any Claim entitled to priority in payment under Section 507(a)(8)
of the Bankruptcy Code.
         9.42.   SBA: The U.S. Small Business Administration.
         9.43.   SMI: Solomon Management, Inc.
     9.44. Solomon Trust: Robert D. Solomon, in his capacity as Trustee of the Mervin
Solomon GST Trust UW 9-29-2008.
       9.45. Tecnica: Tecnica Group USA Corp. Reorganized Debtor: The Debtor after the
Effective Date.
      9.46. Schedules: Schedules and Statement of Financial Affairs, as amended, filed by the
Debtor with the Bankruptcy Court listing liabilities and assets.
      9.47.      Secured Creditor: Any creditor that holds a Claim that is secured by property of the
Debtor.
     9.48. Trustee: Kenneth Eiler, the trustee appointed pursuant to 11 U.S.C. § 1183(a) and
whose duties are prescribed under 11 U.S.C. 1183(b), the Plan, or the order confirming the Plan.
        9.49. Unsecured Creditor: Any Creditor that holds a Claim in the Chapter 11 case which
is not a secured Claim.
         9.50.   WSJ: The Wall Street Journal.

Dated: December 3, 2020                           Respectfully submitted;

 VANDEN BOS & CHAPMAN, LLP                         U.S. OUTDOOR HOLDINGS LLC



 By:/s/Douglas R. Ricks                            By:/s/ Edward A. Ariniello
    Douglas R. Ricks, OSB #044026                    Edward A. Ariniello, Manager/Member
    Of Attorneys for Debtor-in-Possession            Debtor-in-Possession




    Exhibit A - Page 20 of 38
    Exhibit 1 - Page 23 of 45                 20
                         Case
                         Case20-32571-dwh11
                              20-32571-dwh11 Doc
                                             Doc120
                                                 90 Filed
                                                    Filed12/03/20
                                                          01/18/21
US Outdoor Holding, LLC - Case No. 20-32571-dwh11


                          Beginning Cash                                                    *     300,000      512,712     429,118      469,456


                                                                       CLAIM     INTEREST
             CLASS                   CREDITOR NAME                    AMOUNT       RATE   Due 1/31/21 Due 1/31/22 Due 1/31/23 Due 1/31/24
             Admin        Vanden Bos & Chapman                            50,000    0%         50,000       5,000       5,000           0
             Admin        CFO Selections, LLC                              5,000    0%          6,000       7,500       5,000           0
             Admin        Willamette Valley Accounting                     4,000    0%          4,000       4,000       4,000           0
             Admin        Solomon Trust (precautionary)                   30,000    0%         30,000           0           0           0
             Admin        Subchapter V Trustee                            10,000    0%         10,000           0           0           0
                                                          Subtotal:                          100,000      16,500      14,000            0

             Class 1      US Small Business Admin                        150,154    3.75%            5,117       8,772        8,772       8,772
             Class 2      Tecnica Group USA Corp                          50,298    4.25%            4,500      49,973            0           0
             Class 3      The Burton Corporation                          64,302    4.25%            8,200      61,335
             Class 4      National Funding Inc                            74,567    4.25%            9,500      71,136
             Class 5      IRS                                             92,734    3.00%            6,000      92,202
             Class 6      Multnomah County                                 1,610   16.00%            1,610           0            0           0
             Class 7      Solomon Trust (see Class 9)                    193,129    0.00%                0           0            0           0
             Class 8      Solomon Management (see Class 9)             1,269,785    0.00%                0           0            0           0
                                                      Subtotal:                                     34,927     283,418        8,772       8,772

             Priority     IRS                                             59,642    3.00%            6,000      57,094              0        0
             Priority     ODR                                             24,260    6.00%            3,000      24,079
             Priority     DCBS                                             1,127    6.00%            1,127           0              0        0
             Priority     Employment Dept                                 18,169    6.00%            2,500      17,765
                                                          Subtotal:                                 12,627      98,938              0        0

             Class 9      General Unsecured Creditors                  3,600,085      0%                 0      50,000     323,795      323,795
                                                          Subtotal:                                      0      50,000     323,795      323,795

                          Total Plan Payments:                                                    147,554      448,856     346,567      332,567
                          Net Cash Carry:                                                         152,446       63,856      82,551      136,889




* Initial $300,000 assumes $150,000 cash on hand and $150,000 in additional financing in the form of Notes convertible to equity.




         Exhibit A - Page 21 of 38
         Exhibit 1 - Page 24 of 45
                                      Case
                                      Case20-32571-dwh11
                                           20-32571-dwh11 Doc
                                                          Doc120
                                                              90 Filed
                                                                 Filed12/03/20
                                                                       01/18/21
US Outdoor Holding, LLC                                 % Inc.     Jan 21         Feb 21        Mar 21       Apr 21        May 21       Jun 21        Jul 21        Aug 21       Sep 21        Oct 21         Nov 21        Dec 21        2021
Income Statement Projections
    Beginning Cash Balance                                        152,446.00     128,205.49     92,626.02    58,656.93     54,876.49    64,030.45     75,054.82     82,754.71    98,610.02    132,636.91     217,931.41    331,328.80
    Revenue
        46100 · In-Store Sales                                      175,606        131,450       135,750       87,540       105,000      112,000       119,098       121,500      160,020       272,550        338,100       473,340      2,231,954
        46200 · eCommerce Sales
               46201 · Paypal                                        13,800         12,650        10,000       10,000        10,000       10,000        10,000        10,000       10,000        10,000         11,500        11,500       129,450
               46202 · Amazon                                         9,100          8,450         7,800        7,800         7,800        7,800         8,580         9,360        9,750        10,140         12,480        13,650       112,710
               46200 · eCommerce Sales - Other                       30,000         30,000        22,500       25,000        27,500       30,000        32,500        30,000       36,000        52,500         81,000        94,500       491,500
        46000 · Merchandise Sales - Other                             1,500          1,500         1,500               0            0      1,500         2,000         3,000        1,500                0             0              0     12,500
        48300 · Vendor Discounts Given                                       0              0            0                          0             0             0            0            0              0             0              0                        0
        48500 · Refunds and Returns                                    -550           -550          -550         -550          -550         -478          -511          -494         -558          -726          -1,050        -1,197        -7,763
        49000 · Sponsorship and Commissions                                  0              0            0             0            0             0             0            0            0              0             0              0                        0




                                                                                                                                                                                                                                                                                       01/18/21
                                                                                                                                                                                                                                                                                 Filed12/03/20
    Total Revenue                                                   229,456        183,500       177,000      129,790       149,750      160,822       171,667       173,366      216,713       344,464        442,030       591,794      2,970,352
    Cost of Goods Sold
        50000 · Cost of Goods Sold (Inventory)              50%     114,142         91,282        88,048       64,564        74,493       80,000        85,395        86,241      107,803       171,352        219,887       294,386      1,477,592
        50090 · Inventory - Freight -In                      0%         125            125           125          125           125          125           125           125          125           125            125           125         1,500




                                                                                                                                                                                                                                                                              90 Filed
        50100 · Cost of Sales
               59700 · eComm | Online Services              10%       5,290          5,110         4,030        4,280         4,530        4,780         5,108         4,936        5,575         7,264         10,498        11,965        73,366
               59800 · Merchant Account Fees                 3%       7,572          6,056         5,841        4,283         4,942        5,307         5,665         5,721        7,152        11,367         14,587        19,529        98,022




                                                                                                                                                                                                                                                                          Doc120
        Total 50100 · Cost of Sales                         10%      12,862         11,166         9,871        8,563         9,472       10,087        10,773        10,657       12,727        18,631         25,085        31,494       171,388
        55020 · Rental Fleet                                 0%             0              0                                     48        3,000         7,500            56           70           111          4,500         4,500        19,785




                                                                                                                                                                                                                                                                          Doc
        65040 · Repair Shop Expenses                         0%         300                0                                     23              25        300            27           34           350            350           350         1,759
        68200 · Postage/ Shipping                            5%       2,645          2,555         2,015        2,140         2,265        2,390         2,554         2,468        2,788         3,632          5,249         5,983        36,683
    Total COGS                                              70%     130,074        105,127       100,059       75,392        86,426       95,628       106,647        99,574      123,546       194,202        255,196       336,837      1,708,707




                                                                                                                                                                                                                                                                                     20-32571-dwh11
                                                                                                                                                                                                                                                                               Case20-32571-dwh11
Gross Profit                                                         99,382         78,373        76,941       54,398        63,324       65,194        65,020        73,793       93,167       150,262        186,835       254,956      1,261,645
    Gross Margin %                                                     43%            43%           43%          42%           42%          41%           38%           43%          43%           44%            42%           43%           42%
    Product Margin %                                                   50%            50%           50%          50%           50%          50%           50%           50%          50%           50%            50%           50%           50%
    Expense
        General & Administrative




                                                                                                                                                                                                                                                             Exhibit A - Page 22 of 38
                                                                                                                                                                                                                                                             Exhibit 1 - Page 25 of 45
               60211 · Fuel                                             125            125           125          125           125          125           125           125          125           125            125           125         1,500




                                                                                                                                                                                                                                                                              Case
               60201 · Automobile Expense - Other                       250            250           250          250           250          250           250           250          250           250            250           250         3,000
               60300 · Parking and Tolls                                750                0             0            0             0            0             0             0            0             0              0             0              750
               60400 · Bank Service Charges - Other                         40             40         40              40         40              40            40         40           40               40          40               40             480
               61700 · Computer and Internet Expenses                 1,100          1,100         1,100        1,100         1,100        1,100         1,100         1,100        1,100         1,100          1,100         1,100        13,200
               63300 · Liability Insurance                            2,550          2,550         2,550        2,550         2,550        2,550         2,550         2,550        2,550         2,550          2,550         2,550        30,600
               64300 · Meals and Entertainment 50%                      150            150           150          150           150          150           150           150          150           150            150           150         1,800
               64310 · Meals and Entertainments 100%                    225            225           225          225           225          225           225           225          225           225            225           225         2,700




                                                                                                                                                                                                                                                 Exhibit 1 Page 3 of 4
               64400 · Travel                                           200            200           200          200           200          200           200           200          200           200            200           200         2,400
               64900 · Office Supplies                                1,925          1,925         1,925        1,925         1,925        1,925         1,925         1,925        1,925         1,925          1,925         1,925        23,100
               64950 · Software Subscription Expense                    700            700           700          700           700          700           700           700          700           700            700           700         8,400
               66700 · Professional Fees                              2,500          2,500         2,500        2,500         2,500        2,500         2,500         2,500        2,500         2,500          2,500         2,500        30,000
               66900 · Reconciliation Discrepancies                         0              0             0            0             0            0             0             0            0             0              0             0                        0
               68900 · Licenses and Fees                                450            450           450          450           450          450           450           450          450           450            450           450         5,400
US Outdoor Holding, LLC                            % Inc.   Jan 21        Feb 21        Mar 21        Apr 21       May 21       Jun 21        Jul 21        Aug 21       Sep 21       Oct 21        Nov 21       Dec 21        2021
        Total General & Administrative                        10,965        10,215        10,215        10,215       10,215       10,215        10,215        10,215       10,215       10,215        10,215       10,215       123,330
        Occupancy                                                                                              0            0             0             0            0            0             0            0            0                         0
            61100 · Display & Decor Expense                      100           100          100                0            0             0             0            0            0             0            0            0             300
            63600 · Janitorial Expense                           250           250          250                0            0             0             0            0            0             0            0            0             750
            64800 · Furniture & Fixtures < $2500                     0             0             0             0            0             0             0            0            0             0            0            0                         0
            66300 · Business Tax                                 500           500          500                0            0            0             0             0            0            0             0            0       1,500
            67100 · Rent Expense                              30,000        30,000        30,000               0            0            0             0             0            0            0             0            0      90,000
            67200 · Repairs and Maintenance                      750          750           750                0            0            0             0             0            0            0             0            0       2,250
            67250 · Small Equipment                                  0             0             0             0            0            0             0             0            0            0             0            0                         0
            68601 · Telephone Expense                            725          725           725                0            0            0             0             0            0            0             0             0      2,175
            68600 · Utilities - Other                          3,100         3,100         3,100               0            0             0             0            0            0             0            0             0      9,300
        Total Occupancy                                       35,425        35,425        35,425               0            0             0             0            0            0             0            0            0     106,275




                                                                                                                                                                                                                                                                              01/18/21
                                                                                                                                                                                                                                                                        Filed12/03/20
        Sales & Marketing                                                                                      0            0             0             0            0            0             0            0            0                         0
            60180 · Advertising and Promotion                  7,486         5,910         5,122               0            0             0             0            0            0             0            0            0      18,518
            60184 · Dues and Memberships                         136           108               93            0            0             0             0            0            0             0            0            0             337
            60187 · Marketing/Public Relation                  1,601         1,264         1,096               0            0             0             0            0            0             0            0            0       3,962




                                                                                                                                                                                                                                                                     90 Filed
            60188 · Events & Classes                             787           621          538                0            0            0             0             0            0            0             0            0       1,947
            60189 · Trade Show Expenses                        4,698         3,709         3,215               0            0            0             0             0            0            0             0            0      11,622
            64500 · Gifts < $25                                      0             0             0             0            0            0             0             0            0            0             0            0                         0




                                                                                                                                                                                                                                                                 Doc120
            64600 · Gifts > $25                                  145          114                99            0            0            0             0             0            0             0            0             0            358
            68300 · Printing/Reproduction                             0             0             0            0            0             0             0            0            0             0            0             0                        0




                                                                                                                                                                                                                                                                 Doc
            69600 · Consignment Sales Expense                    584           461          400                0            0             0             0            0            0             0            0            0       1,445
        Total Sales & Marketing                               15,437        12,187        10,562               0            0             0             0            0            0             0            0            0      38,187
        60000 · Payroll Expenses




                                                                                                                                                                                                                                                                      20-32571-dwh11
                                                                                                                                                                                                                                                                Case20-32571-dwh11
            60031 · Hourly Labor                              34,440        29,400        28,140        22,190       18,760       18,760        21,560        22,820       23,800       28,980        36,288       36,540       321,678
            60032 · Salary Labor                              16,000        16,000        16,000        16,000       16,000       16,000        16,000        16,000       16,000       16,000        16,000       16,000       192,000
            60050 · Federal Payroll Taxes                      4,287         3,859         3,752         3,246        2,955        2,955         3,193         3,300        3,383        3,823         4,444        4,466        43,663
            60060 · State Payroll Taxes                        2,018         1,816         1,766         1,528        1,390        1,390         1,502         1,553        1,592        1,799         2,092        2,102        20,547
            63400 · Worker's Compensation                        200          200           200            200          50               50            50        50           50               50       200           200         1,500
            66400 · Pension Plan                                 300          300           300            300         300          300            300          300          300           300          300           300         3,600
            66500 · Medical/ Dental Insurance                  4,300         4,300         4,300         4,300        4,300        4,300         4,300         3,500        3,500        3,500         3,500        3,500        47,600




                                                                                                                                                                                                                                              Exhibit A - Page 23 of 38
                                                                                                                                                                                                                                                                  of 45
            66550 · Other Employee Benefits                      100           100          100            100         100           100           100          100          100           100          100           100         1,200




                                                                                                                                                                                                                                                               Case
            66800 · Recruiting Expenses                              50            50            50            0            0             0             0            0       100           100          150               50            550
            68500 · Uniforms                                         0             0             0             0            0            0             0             0            0            0         48               0                   48




                                                                                                                                                                                                                                  Page 3 of 4 Exhibit 1 - Page 26
            60000 · Payroll Expenses - Other                     100          100           100            100         100          100            100          100          100           100          100           100         1,200
        Total 60000 · Payroll Expenses                        61,795        56,125        54,708        47,964       43,955       43,955        47,105        47,723       48,925       54,753        63,222       63,358       633,586
    Total Expense                                            123,623       113,953       110,910        58,179       54,170       54,170        57,320        57,938       59,140       64,968        73,437       73,573       901,379
    Net Income                                               -24,241       -35,579       -33,969        -3,780        9,154       11,024         7,700        15,855       34,027       85,295       113,397      181,384       360,266




                                                                                                                                                                                                                                  Exhibit 1
              US Outdoor Holding, LLC                Forecast      Forecast      Forecast
              Income Statement & Projections          2021          2022          2023

                         In-Store Sales                2,231,954     2,365,872     2,460,507
                         eCommerce Sales                 733,660       777,680       808,787
                         Merchandise Sales - Other        12,500        13,250        13,780
              Total Revenue                            2,970,352     3,148,573     3,274,516
              Total COGS                               1,708,707     1,866,339     1,940,992
          Gross Profit                                 1,261,645     1,282,234     1,333,524
              Gross Margin %                              42.5%         40.7%         40.7%
                  Total General & Administrative         123,330       127,030       130,841
                  Total Occupancy                        106,275       110,526       114,947
                  Total Sales & Marketing                 38,187        39,333        40,513
                  Total Payroll Expenses                 633,586       640,084       660,317
              Total Expense                              901,379       916,973       946,618


          Net Income                                     360,266       365,261       386,905


          Beginning Cash:                                300,000       152,446        63,856




Exhibit A - Page 24 of 38
Exhibit 1 - Page 27 of 45
                         Case
                         Case20-32571-dwh11
                              20-32571-dwh11 Doc
                                             Doc120
                                                 90 Filed
                                                    Filed12/03/20
                                                          01/18/21
 LIQUIDATION ANALYSIS
 Real Estate

                                                                       Commission &
                                                    Estimated Gross     Closing Costs                             Less Liens/        Net to Seller      Available for
                    Location                       Sales Price/Value      (est. 7%)            Subtotal           Mortgages          Before Taxes        Creditors
 NONE                                                           0.00               0.00                   0.00               0.00               0.00               0.00
 Subtotal, Equity (if any) in Real Estate                       0.00               0.00                   0.00               0.00               0.00               0.00


 Schedule B - Personal Property
                                                                       Commission &
                                                                        Closing Costs                             Less Liens/                           Available for
                     Asset                              Value             (est. 7%)            Lienholder         Mortgages            Net Value         Creditors
 Cash Accounts                                           313,603.00                       IRS/SBA/Mult Cnty           313,603.00                0.00               0.00
 Landlord security deposit                                50,000.00                                                    50,000.00                0.00               0.00
 Solomn Trust - Repair prepayment                        100,000.00                                                          0.00        100,000.00        100,000.00
 Inventory as of 10/25/20                                670,334.67                       Sec Vendors                 120,062.00         550,272.67        550,272.67
 Office Furniture                                          4,005.00            280.35                                        0.00           3,724.65          3,724.65
 IT Hardware                                              37,725.00          2,640.75                                        0.00         35,084.25          35,084.25
 Photography Equipment                                       725.00             50.75                                        0.00             674.25            674.25
 2003 Ford E350                                           15,500.00          1,085.00                                        0.00         14,415.00          14,415.00
 Merchandise Fixtures                                     53,295.50          3,730.69                                        0.00         49,564.82          49,564.82
 Appliances                                                  370.00             25.90                                        0.00             344.10            344.10
 Event Equipment                                           1,835.00            128.45                                        0.00           1,706.55          1,706.55
 Shop Equipment                                           47,929.00          3,355.03                                        0.00         44,573.97          44,573.97
 Store and Brand Signs                                     2,825.00            197.75                                        0.00           2,627.25          2,627.25
 Avoidance Claims [1]                                          0.00                                                          0.00               0.00               0.00
 Third Party Claims [1]                                   40,000.00                                                          0.00         40,000.00          40,000.00

 Subtotal, Equity (if any) in Personal Property     $1,338,147.17                                                $483,665.00         $842,987.51        $842,987.51


 TOTALS:                                            $1,338,147.17          $0.00                $0.00            $483,665.00         $842,987.51        $842,987.51

 FROM EQUITY IN REAL ESTATE:                            $0.00
 FROM EQUITY IN PERSONAL PROPERTY:                   $842,987.51
 TOTAL EQUITY AVAILABLE FOR CREDITORS                $842,987.51


 LESS ADMINISTRATIVE EXPENSES:
 Vanden Bos & Chapman                                    $50,000.00
 Solomon Trust                                           $30,000.00
                                                              $0.00
 Estimated Trustee Attorney & Accountant
 fees/costs                                              $20,000.00
                                                        $100,000.00                          ($100,000.00)

 LESS CHAPTER 7 TRUSTEE FEES:
 Calculation for Trustee's Commission

 Sale Price of Real Property (Less Exemption)                  $0.00
 Sale Price of Personal Property (Less
 Exemption)                                             $842,987.51
 Subtotal:                                              $842,987.51

 25% - First $5,000                                       $1,250.00
 10% - $5,000 - $50,000                                   $4,500.00
 5% - $50,000 - $1,000,000                               $39,649.38
 3% over $1,000,000                                           $0.00
                                                         $45,399.38                          ($45,399.38)

 Subtotal, Available for Creditors                                                           $697,588.13

 LESS PRIORITY CLAIMS:
                                             IRS        ($59,642.00)
                                 OR Emp. Dept           ($18,169.00)
                               Dept of Cons. Fin         ($1,127.00)
                                           ODR          ($24,260.00)                         ($103,198.00)

 LESS SECURED CLAIMS:
                                                                                                $0.00

 TOTAL AVAILABLE FOR UNSECUREDS:                                                             $594,390.13


 [1] Avoidance Claims and Third-Party Claims are litigation claims with an unknown value and an unknown amount of fees and expenses to be incurred before any
 recovery is obtained. As with any litigation claims, there is a risk that the claim will yield little or no recovery. The values listed are merely estimates and do not
 reflect the debtor's maximum recovery, claim amount, a waiver to assert additional amounts, or a willingness to compromise any claims for the amounts listed.


Exhibit A - Page 25 of 38
Exhibit 1 - Page 28 of 45
                                     Case
                                     Case20-32571-dwh11
                                          20-32571-dwh11 Doc
                                                         Doc120
                                                             90 Filed
                                                                Filed12/03/20
                                                                      01/18/21
             Claim #



                                                            Amt. Owed Per         Amt. Owed Per
  Class #                        Creditor Name               Schedule F              Claim             Difference      Allowed Amount
SECURED
   Class 1    13       The Small Business Administration    $    150,000.00   $       150,154.11   $        (154.11)   $    150,154.11
   Class 2    31       Technica Group USA Corp              $      4,005.38   $        50,297.91   $     (46,292.53)   $     50,297.91
   Class 3    24       The Burton Corporation               $     56,123.18   $        64,302.43   $      (8,179.25)   $     64,302.43
   Class 4    32       National Funding                     $     35,035.43   $        74,567.20   $     (39,531.77)   $     74,567.20
   Class 5    3        IRS                                  $     93,115.20   $        92,733.84   $      93,115.20    $     92,733.84
   Class 6    19       Multnomah County - DART              $           -     $         1,609.57   $      (1,609.57)   $      1,609.57
   Class 7    33       Solomon Trust (see Class 9)          $           -     $       193,128.90   $            -      $    193,128.90
   Class 8    34       Solomon Management (see Class 9)     $           -     $              -     $            -      $           -

PRIORITY
              3        IRS                                  $     23,004.71   $        59,642.26   $     (36,637.55)   $     59,642.26
              28       ODR                                  $     23,148.86   $        24,259.51   $      (1,110.65)   $     24,259.51
              1        Department of Consumer Bus Svc       $      1,187.16   $         1,126.61   $          60.55    $      1,126.61
              4        Oregon Employment Department         $     20,976.90   $        18,169.26   $       2,807.64    $     18,169.26
                                           Subtotal Class   $     68,317.63   $       103,197.64   $     (34,880.01)   $    103,197.64

GENERAL UNSECURED CREDITORS                                                                        $           -
  Class 9      Aaron Unverzagt                              $     50,000.00   $              -     $     50,000.00     $     50,000.00
  Class 9      Airblaster, LLC                              $     23,174.34   $              -     $     23,174.34     $     23,174.34
  Class 9   29 Amer Sports                                  $    100,463.28   $       147,840.74   $    (47,377.46)    $    147,840.74
  Class 9   9 American Express                              $     54,867.51   $        54,867.51   $           -       $     54,867.51
  Class 9      Arcteryx Equipment                           $     54,401.76   $              -     $     54,401.76     $     54,401.76
  Class 9   15 Black Crows Corp                             $     20,298.95   $        17,766.29   $      2,532.66     $     17,766.29
  Class 9      Bonfire                                      $      3,105.63   $              -     $      3,105.63     $      3,105.63
  Class 9      Bula Sports USA, INC                         $      2,908.05   $              -     $      2,908.05     $      2,908.05
  Class 9   5 C3 Worldwide, LLC                             $     43,565.52   $        35,325.18   $      8,240.34     $     35,325.18
  Class 9   20 Capital One - Spark Card                     $     26,847.65   $        27,189.51   $       (341.86)    $     27,189.51
  Class 9      Carrie Lattimer-Ariniello                    $     76,318.01   $              -     $     76,318.01     $     76,318.01
  Class 9   14 Chase Cardmember Service                     $     14,951.60   $        14,951.60   $           -       $     14,951.60
  Class 9      City of Portland                             $      1,550.50   $              -     $      1,550.50     $      1,550.50
  Class 9      Clockwork Brand Management                   $        862.13   $              -     $        862.13     $        862.13
  Class 9   7 Conductor                                     $      6,750.00   $        27,000.00   $    (20,250.00)    $     27,000.00
  Class 9      Criteo Corp                                  $      5,788.65   $              -     $      5,788.65     $      5,788.65
  Class 9      Dakine Inc.                                  $     46,744.87   $              -     $     46,744.87     $     46,744.87
  Class 9   10 DC Shoes/Boardriders Wholesale               $      6,352.40   $         6,352.40   $           -       $      6,352.40
  Class 9      Earth2O                                      unknown           $              -     unknown             unknown
  Class 9      Goode                                        $      1,422.61   $              -     $      1,422.61     $      1,422.61
  Class 9      Gordini                                      $      5,893.85   $              -     $      5,893.85     $      5,893.85
  Class 9      Group Rossignol USA, Inc.                    $     41,856.88   $              -     $     41,856.88     $     41,856.88
  Class 9      Hestra Gloves, LLC                           $      7,643.80   $              -     $      7,643.80     $      7,643.80
  Class 9   6 Huser Intergrated Technologies                $      2,077.00   $              -     $      2,077.00     $           -
  Class 9   3 IRS                                           $           -     $        79,905.11   $    (79,905.11)    $     79,905.11
  Class 9      Jupa Sports                                  $      5,531.68   $              -     $      5,531.68     $      5,531.68
  Class 9   27 K2 Sports                                    $     43,466.96   $        40,166.85   $      3,300.11     $     40,166.85
  Class 9   21 KeyBank National Association                 $    266,607.00   $       267,892.56   $     (1,285.56)    $    267,892.56
  Class 9      KPTV Digital                                 $      6,595.00   $              -     $      6,595.00     $      6,595.00
  Class 9      Kulkea                                       $      1,914.49   $              -     $      1,914.49     $      1,914.49
  Class 9      Liberty Skis Corporation                     $     12,347.00   $              -     $     12,347.00     $     12,347.00
  Class 9      Loser Machine, LLC                           $        614.44   $              -     $        614.44     $        614.44
  Class 9   2 Luxottica of America                          $     38,431.51   $        38,431.51   $           -       $     38,431.51


      Exhibit A - Page 26 of 38
      Exhibit 1 - Page 29 of 45
                                     Case
                                     Case20-32571-dwh11
                                          20-32571-dwh11 Doc
                                                         Doc120
                                                             90 Filed
                                                                Filed12/03/20
                                                                      01/18/21
          Claim #



                                                              Amt. Owed Per      Amt. Owed Per
Class #                          Creditor Name                 Schedule F           Claim             Difference       Allowed Amount
Class 9             Mammut Sports Group                      $     14,762.34   $             -     $      14,762.34    $     14,762.34
Class 9    23       Marchon Eyewear, Inc.                    $      6,624.68   $        6,552.70   $          71.98    $      6,552.70
Class 9    26       Marker Volkl US, Inc.                    $     35,063.92   $       40,166.85   $      (5,102.93)   $     40,166.85
Class 9             Marmot Mountain, LLC                     $     19,590.00   $             -     $      19,590.00    $     19,590.00
Class 9             MEDIAmerica, Inc.                        $      7,700.00   $             -     $       7,700.00    $      7,700.00
Class 9             Mervin Solomon Estate                    unknown           $             -     unknown             unknown
Class 9    22       Motion Water Sports                      $      6,764.82   $        6,306.87   $         457.95    $      6,306.87
Class 9             Nidecker US                              $      5,517.65   $             -     $       5,517.65    $      5,517.65
Class 9             Nikita                                   $      1,924.99   $             -     $       1,924.99    $      1,924.99
Class 9             Nils                                     $     17,046.54   $             -     $      17,046.54    $     17,046.54
Class 9             Nitro Snowboards & L1 Outerwear          $     22,082.52   $             -     $      22,082.52    $     22,082.52
Class 9             Nordica USA                              $      7,917.58   $             -     $       7,917.58    $      7,917.58
Class 9     8       Sport Obermeyer Ltd                      $     11,866.09   $       11,866.09   $            -      $     11,866.09
Class 9             O'neill Wetsuits LLC                     $      2,733.50   $             -     $       2,733.50    $      2,733.50
Class 9    28       ODR                                      $           -     $          427.52   $        (427.52)   $        427.52
Class 9    4        Oregon Employment Department             $           -     $       13,459.17   $     (13,459.17)   $     13,459.17
Class 9             Phillip A & Priscilla S. Unverzagt Trust $    150,000.00   $             -     $    150,000.00     $    150,000.00
Class 9    35       POC USA                                  $           -     $        6,596.93   $      (6,596.93)   $      6,596.93
Class 9    11       Boardriders Wholesale                    $      6,082.51   $        6,414.71   $        (332.20)   $      6,414.71
Class 9             Rhythm Swin                              unknown           $             -     unknown             unknown
Class 9             Rosenthal & Rosenthal, INC               $      6,845.93   $             -     $       6,845.93    $      6,845.93
Class 9             SCARPA North America, Inc                $      3,839.57   $             -     $       3,839.57    $      3,839.57
Class 9             Si Products - Sunince                    $      2,405.67   $             -     $       2,405.67    $      2,405.67
Class 9             Smith Sport Optics                       $     27,706.16   $             -     $      27,706.16    $     27,706.16
Class 9    16       Sole Technology                          $     24,888.43   $       24,746.59   $         141.84    $     24,746.59
Class 9    33       Solomon Trust (see Class 9)              $           -     $     518,329.01    $            -      $    518,329.01
Class 9    34       Solomon Management (see Class 9)         $ 1,250,000.00    $   1,269,784.99    $     (19,784.99)   $ 1,269,784.99
Class 9    12       Spark R&D                                $      5,941.00   $        5,941.00   $            -      $      5,941.00
Class 9             Strafe Outerwear                         $      1,526.53   $             -     $       1,526.53    $      1,526.53
Class 9             Thyssenkrupp Elevator                    $        832.01   $             -     $         832.01    $        832.01
Class 9             Triple T Trading Ltd                     $        764.50   $             -     $         764.50    $        764.50
Class 9             UPS                                      $      3,828.94   $             -     $       3,828.94    $      3,828.94
Class 9    25       US Bank Credit Card                      $     28,237.50   $       28,725.14   $        (487.64)   $     28,725.14
Class 9             VF Outdoor                               $     10,782.10   $             -     $      10,782.10    $     10,782.10
Class 9    30       VF Outdoor                               $     15,366.66   $       15,366.66   $            -      $     15,366.66
Class 9    30       VF Outdoor                               $     36,420.74   $       36,420.04   $           0.70    $     36,420.04
Class 9    30       VF Outdoor LLC - Reef                    $      2,482.72   $        4,916.83   $      (2,434.11)   $      4,916.83
Class 9    30       VF - The North Face Outdoor, LLC         $     91,892.16   $       91,892.16   $            -      $     91,892.16
Class 9             Vista Outdoor/Bell Sports                $      4,139.65   $             -     $       4,139.65    $      4,139.65
Class 9             Volcom, LLC                              $     82,470.63   $             -     $      82,470.63    $     82,470.63
Class 9    17       Westlife Distribution LLC                $      4,000.00   $        4,015.00   $         (15.00)   $      4,015.00
Class 9             Willamette Week                          $      2,950.00   $             -     $       2,950.00    $      2,950.00
Class 9             Workman                                  $      1,046.70   $             -     $       1,046.70    $      1,046.70
Class 9             World Famous Sport, Inc.                 $      1,798.11   $             -     $       1,798.11    $      1,798.11
Class 9    18       Wolverine World Wide Inc.                $           -     $        1,581.72   $      (1,581.72)   $      1,581.72
                                                             $           -     $             -     $            -      $           -
                                            Subtotal Class 9 $ 2,899,195.92    $   2,851,199.24    $    566,325.69     $ 3,600,084.55




   Exhibit A - Page 27 of 38
   Exhibit 1 - Page 30 of 45
                                     Case
                                     Case20-32571-dwh11
                                          20-32571-dwh11 Doc
                                                         Doc120
                                                             90 Filed
                                                                Filed12/03/20
                                                                      01/18/21
U.S. Outdoor Holding, LLC                          EXHIBIT 4
Case No. 20-32571-dwh11
                                  LEASES AND EXECUTORY CONTRACTS
                                   TO BE ASSUMED AND/OR REJECTED




    NO.     U.S. OUTDOOR HOLDING, LLC - LEASES/EXECUTORY CONTRACTS                      ASSUMED REJECTED
     1 Marketplace I & II, LLC, c/o PREM Group, Inc., 139 SE Taylor St., Portland, OR      X
        97214 - Lease of commercial property located at 600 NW 14th Ave, Portland, OR
        dated 8/31/20; no cure due.




Exhibit Exhibit
        4 - PageA1 -of
                     Page
                       1 28 of 38
        Exhibit 1 - Page 31 of 45
                            Case
                            Case20-32571-dwh11
                                 20-32571-dwh11 Doc
                                                Doc120
                                                    90 Filed
                                                       Filed12/03/20
                                                             01/18/21
                     Historical Financial Information for the Past 3 Years



                  Income                      2019
    Gross receipts or sales I 1a I         $1,842,732.00
    Returns and allowances                    $34,358.00
    Balance                                $1,808,374.00
    Cost of goods sold                       $949,820.00
    Gross profit.                            $858,554.00
    Other Income
    Total income                             $858,544.00

    Expenses:
    Salaries and wages (other than to        $395,048.00
    partners) (less employment credits)

    Guaranteed payments to partners
    11 Repairs and maintenance                 $1,601.00
     Bad debts
    Rent                                     $120,000.00
    Taxes and licenses                        $53,833.00
    Interest                                 $158,019.00
    Depreciation                               $2,626.00
    Employee benefit programs                 $23,602.00
    Other deductions                         $296,948.00
    Total Deductions                       $1,051,677.00
    Ordinary Bsiness income (Loss)          -$193,123.00

    The above information was taken from the Debtor's U.S. Return of Partnership Income. Copies
    of redacted return will be provided upon request to the U.S. Trustee's office and the Court.




Exhibit A - Page 29 of 38
Exhibit 1 - Page 32 of 45
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                              90 Filed
                                                 Filed12/03/20
                                                       01/18/21
                    Historical Financial Information for the Past 3 Years



                        Income                        2018
          Gross receipts or sales I 1a I             $6,167,166.00
          Returns and allowances                       $749,646.00
          Balance                                    $5,417,520.00
          Cost of goods sold                         $2,629,102.00
          Gross profit.                              $2,788,418.00
          Other Income                                  $21,541.00
          Total income                               $2,809,959.00

          Expenses:
          Advertising                                  $105,614.00
          Car and truck expenses                         $9,622.00
          Commissions and fees                             $411.00
          Depreciation and section 179                  $17,440.00
          expense deduction
          Employee benefit programs                    $113,127.00
          Insurance                                     $27,552.00
          Interest:
          a) Mortgage
          b) Other                                      $54,125.00
          Legal and professional services               $63,448.00
          Office expense                                $27,888.00
          Pension and profit-sharing plans               $9,177.00
          Rent or lease:
          a) Vehicles, machinery, and
          equipment
          b) Other business property                   $409,915.00
          Repairs and maintenance                       $11,759.00
          Supplies
          Taxes and licenses                           $224,241.00
          Travel and meals:
          a) Travel                                      $9,106.00
          b) Deductible meals                            $3,651.00
          Utilities                                     $35,413.00
          Wages (less employment credits)            $1,333,640.00
          Other expenses                               $896,367.00
          Total Expenses                             $3,352,496.00
          Tentative profit or (loss).                 -$541,537.00


          The above information was taken from the Debtor's principal's 1040 - Schedule
          C Income Tax filing - Copies of the redacted return will be provided upon
          request to the U.S. Trustee's office and the Court.




Exhibit A - Page 30 of 38
Exhibit 1 - Page 33 of 45
                    Case
                    Case20-32571-dwh11
                         20-32571-dwh11 Doc
                                        Doc120
                                            90 Filed
                                               Filed12/03/20
                                                     01/18/21
                    Historical Financial Information for the Past 3 Years



                        Income                        2017
          Gross receipts or sales I 1a I             $4,255,919.00
          Returns and allowances
          Balance                                    $4,255,919.00
          Cost of goods sold                         $2,473,052.00
          Gross profit.                              $1,782,867.00
          Other Income                                     $894.00
          Total income                               $1,783,761.00

          Expenses:
          Advertising                                  $105,664.00
          Car and truck expenses                        $10,803.00
          Commissions and fees                             $411.00
          Depreciation and section 179                  $64,926.00
          expense deduction
          Employee benefit programs                     $69,415.00
          Insurance                                     $18,608.00
          Interest:
          a) Mortgage
          b) Other
          Legal and professional services               $48,188.00
          Office expense                                $13,882.00
          Pension and profit-sharing plans               $8,297.00
          Rent or lease:
          a) Vehicles, machinery, and
          equipment
          b) Other business property                   $231,058.00
          Repairs and maintenance                       $13,246.00
          Supplies
          Taxes and licenses                           $102,895.00
          Travel and meals:
          a) Travel                                      $3,738.00
          b) Deductible meals                            $3,191.00
          Utilities                                     $22,224.00
          Wages (less employment credits)              $891,118.00
          Other expenses                               $502,655.00
          Total Expenses                             $2,109,908.00
          Tentative profit or (loss).                 -$326,147.00


          The above information was taken from the Debtor's principal's 1040 - Schedule
          C Income Tax filing - Copies of the redacted return will be provided upon
          request to the U.S. Trustee's office and the Court.




Exhibit A - Page 31 of 38
Exhibit 1 - Page 34 of 45
                    Case
                    Case20-32571-dwh11
                         20-32571-dwh11 Doc
                                        Doc120
                                            90 Filed
                                               Filed12/03/20
                                                     01/18/21
                                              3:50 PM                                       US Outdoor Holding, LLC
                                              11/20/20                                            Balance Sheet
                                              Accrual Basis                                      As of October 31, 2020

                                                                                                                          Oct 31, 20
                                                              ASSETS
                                                                Current Assets
                                                                  Checking/Savings
                                                                     10000 · Checking Accounts
                                                                        10038 · Key Bank - 3880                                229,008.67
                                                                        10052 · Key Bank - 5204                                  4,781.60
                                                                        10054 · Key Bank - 5477                                 24,689.11

                                                                     Total 10000 · Checking Accounts                                    258,479.38




Case
                        Exhibit 1 - Page 35 of 45
                        Exhibit A - Page 32 of 38
                                                                     10100 · Savings Accounts                                                 1.07

                                                                     10500 · Clearing Accounts                                           29,245.15

                                                                     10800 · Petty Cash                                                      53.23
                                                                     10810 · Cash Drawer                                                    220.00
                                                                     10880 · Change Fund                                                     60.00

                                                                   Total Checking/Savings                                               288,058.83




Case20-32571-dwh11
                                                                   Other Current Assets
                                                                     12000 · Undeposited Funds                                              626.00
                                                                     12100 · Inventory Asset                                            666,317.87




     20-32571-dwh11 Doc
                                                                     12300 · Prepaid Expenses
                                                                       12314 · PrePaid Legal Fees                               25,000.00




                    Doc120
                                                                     Total 12300 · Prepaid Expenses                                      25,000.00

                                                                     15100 · Security Deposits                                           50,000.00




                        90 Filed
                                                                   Total Other Current Assets                                           741,943.87

                                                                Total Current Assets                                                   1,030,002.70

                                                                Fixed Assets
                                                                   15000 · Furniture and Equipment                                          350.00




                           Filed12/03/20
                                 01/18/21
                                                                   15500 · Vehicle
                                                                     15570 · Accumulated Depreciation                          -12,000.00
                                                                     15500 · Vehicle - Other                                    22,500.00

                                                                   Total 15500 · Vehicle                                                 10,500.00

                                                                Total Fixed Assets                                                       10,850.00

                                                                Other Assets
                                                                  18000 · Goodwill                                                      661,424.92

                                                                Total Other Assets                                                      661,424.92


                                                                                                                                                      Page 1
                                              3:50 PM                                          US Outdoor Holding, LLC
                                              11/20/20                                               Balance Sheet
                                              Accrual Basis                                         As of October 31, 2020

                                                                                                                               Oct 31, 20
                                                              TOTAL ASSETS                                                                  1,702,277.62

                                                              LIABILITIES & EQUITY
                                                                 Liabilities
                                                                    Current Liabilities
                                                                       Accounts Payable
                                                                           20000 · AP (Inventory)                                           1,038,620.34

                                                                         20100 · AP (Operations)                                              95,930.71




Case
                        Exhibit 1 - Page 36 of 45
                        Exhibit A - Page 33 of 38
                                                                      Total Accounts Payable                                                1,134,551.05

                                                                      Credit Cards
                                                                        20590 · US Bnk CC-9137 Mstr Pymnts Only                               29,801.23

                                                                         20600 · CC - Office Depot 5942                                          119.98
                                                                         20601 · AMEX                                                         54,867.51

                                                                         20660 · Capital One 5825                                             26,534.15
                                                                         20675 · Chase 1023                                                   14,731.17




Case20-32571-dwh11
                                                                      Total Credit Cards                                                     126,054.04

                                                                      Other Current Liabilities




     20-32571-dwh11 Doc
                                                                        20680 · National Funding Loans                                        31,058.10

                                                                         20690 · SBA Loans




                    Doc120
                                                                           20691 · SBA Loan 71-09                                   266,607.00
                                                                           20692 · SBA EDIL Loan                                     10,000.00
                                                                           26093 · EDIL Loan x1324                                  150,000.00




                        90 Filed
                                                                         Total 20690 · SBA Loans                                             426,607.00

                                                                         20700 · Gift Card Liabilities                                       131,242.73

                                                                         20990 · Corporate Tax Liability                                       2,460.00
                                                                         21010 · Payroll Liabilities




                           Filed12/03/20
                                 01/18/21
                                                                           21100 · Payroll Tax Liabilities
                                                                              21200 · Federal Payroll Liabilities            118,287.80

                                                                               21300 · State Payroll Liability                46,886.14

                                                                            Total 21100 · Payroll Tax Liabilities                   165,173.94

                                                                            21705 · Other Payroll Liabilities                         5,077.56

                                                                         Total 21010 · Payroll Liabilities                                   170,251.50

                                                                      Total Other Current Liabilities                                        761,619.33

                                                                   Total Current Liabilities                                                2,022,224.42

                                                                                                                                                           Page 2
                                              3:50 PM                                      US Outdoor Holding, LLC
                                              11/20/20                                            Balance Sheet
                                              Accrual Basis                                      As of October 31, 2020

                                                                                                                            Oct 31, 20
                                                                   Long Term Liabilities
                                                                     28000 · Notes Payable Carrie Ariniello                                 36,318.01
                                                                     29000 · Notes Payable Solomon                                       1,250,000.00
                                                                     29100 · Notes Payable PUNVER                                          150,000.00
                                                                     29200 · Notes Payable AUNVER                                           50,000.00

                                                                   Total Long Term Liabilities                                           1,486,318.01

                                                                Total Liabilities                                                        3,508,542.43




Case
                        Exhibit 1 - Page 37 of 45
                        Exhibit A - Page 34 of 38
                                                                Equity
                                                                  31000 · Owners Equity
                                                                     31001 · Note Equity - Prior Period                          101,567.75
                                                                     31600 · Owners Equity - Ed Ariniello
                                                                       31601 · CC - EA Personal 4957                          176.25
                                                                       31602 · CC - EA Personal 7388                          231.03
                                                                       31600 · Owners Equity - Ed Ariniello - Other       637,519.82

                                                                      Total 31600 · Owners Equity - Ed Ariniello                 637,927.10




Case20-32571-dwh11
                                                                      31700 · Owners Equity - A Unverzagt                        168,000.00
                                                                      31701 · Owners Equity - A Pollard                          150,000.00

                                                                   Total 31000 · Owners Equity                                           1,057,494.85




     20-32571-dwh11 Doc
                                                                   32000 · Retained Earnings                                           -2,245,002.57
                                                                   Net Income                                                            -618,757.09




                    Doc120
                                                                Total Equity                                                           -1,806,264.81

                                                              TOTAL LIABILITIES & EQUITY                                                 1,702,277.62




                        90 Filed
                           Filed12/03/20
                                 01/18/21
                                                                                                                                                        Page 3
                                              3:53 PM                                      US Outdoor Holding, LLC
                                              11/20/20                                             Profit & Loss
                                              Accrual Basis                                            October 2020

                                                                                                                              Oct 20
                                                              Ordinary Income/Expense
                                                                   Income
                                                                      46000 · Merchandise Sales
                                                                         46100 · In-Store Sales                                  67,093.30
                                                                         46200 · eCommerce Sales
                                                                           46201 · Paypal                                   8,603.26
                                                                           46200 · eCommerce Sales - Other                 11,228.62

                                                                        Total 46200 · eCommerce Sales                            19,831.88




Case
                        Exhibit 1 - Page 38 of 45
                        Exhibit A - Page 35 of 38
                                                                        46000 · Merchandise Sales - Other                                0.00

                                                                     Total 46000 · Merchandise Sales                                      86,925.18

                                                                     48300 · Vendor Discounts Given                                               0.00

                                                                   Total Income                                                           86,925.18

                                                                   Cost of Goods Sold
                                                                     50000 · Cost of Goods Sold (Inventory)                               55,614.82




Case20-32571-dwh11
                                                                     50090 · Inventory - Freight -In                                            868.44

                                                                     50100 · Cost of Sales




     20-32571-dwh11 Doc
                                                                       50540 · Merchant Account Fees                              2,747.28
                                                                       50560 · Postage-Freight Out                                3,199.40
                                                                       50585 · Repair Shop Expenses                               1,493.95




                    Doc120
                                                                     Total 50100 · Cost of Sales                                           7,440.63

                                                                   Total COGS                                                             63,923.89




                        90 Filed
                                                                Gross Profit                                                              23,001.29

                                                                   Expense
                                                                     General & Administrative
                                                                       60201 · Automobile Expense                                       65.30




                           Filed12/03/20
                                 01/18/21
                                                                        60400 · Bank Service Charges                                   102.83

                                                                        61700 · Computer and Internet Expenses
                                                                          61750 · eComm | Online Services                   3,342.54
                                                                          61700 · Computer and Internet Expenses - Other      456.88

                                                                        Total 61700 · Computer and Internet Expenses              3,799.42

                                                                        63300 · Liability Insurance                               2,912.04
                                                                        64900 · Office Supplies
                                                                          64940 · Store Supplies                              99.75
                                                                          64900 · Office Supplies - Other                    613.97


                                                                                                                                                         Page 1
                                              3:53 PM                                       US Outdoor Holding, LLC
                                              11/20/20                                            Profit & Loss
                                              Accrual Basis                                             October 2020

                                                                                                                         Oct 20
                                                                        Total 64900 · Office Supplies                             713.72

                                                                        64950 · Software Subscription Expense                     965.44
                                                                        66700 · Professional Fees
                                                                          66720 · Accounting / Bookkeping              3,345.00
                                                                          66740 · Design Fees                          2,850.00

                                                                        Total 66700 · Professional Fees                      6,195.00

                                                                        66850 · Postage - G/A                                      50.61




Case
                        Exhibit 1 - Page 39 of 45
                        Exhibit A - Page 36 of 38
                                                                        68900 · Licenses and Fees                                 125.00

                                                                     Total General & Administrative                                  14,929.36

                                                                     Occupancy
                                                                       66300 · Business Tax                                  2,421.72
                                                                       67100 · Rent Expense                                  9,000.00
                                                                       67200 · Repairs and Maintenance                         633.18
                                                                       68600 · Utilities
                                                                         68601 · Telephone Expense                      412.24




Case20-32571-dwh11
                                                                        Total 68600 · Utilities                                   412.24

                                                                     Total Occupancy                                                 12,467.14




     20-32571-dwh11 Doc
                                                                     Sales & Marketing
                                                                       60180 · Advertising and Promotion                       264.99




                    Doc120
                                                                       60187 · Marketing/Public Relation                     7,100.10

                                                                     Total Sales & Marketing                                          7,365.09




                        90 Filed
                                                                     60000 · Payroll Expenses
                                                                       60010 · Labor                                        33,894.39

                                                                        60050 · Federal Payroll Taxes                        2,474.28
                                                                        60060 · State Payroll Taxes                            828.14
                                                                        63400 · Worker's Compensation                         -589.39




                           Filed12/03/20
                                 01/18/21
                                                                        66400 · Pension Plan                                   489.00
                                                                        66500 · Medical/ Dental Insurance                    4,762.89
                                                                        66550 · Other Employee Benefits                        700.00
                                                                        66800 · Recruiting Expenses                             45.00
                                                                        60000 · Payroll Expenses - Other                        17.85

                                                                     Total 60000 · Payroll Expenses                                  42,622.16

                                                                   Total Expense                                                     77,383.75

                                                              Net Ordinary Income                                                   -54,382.46

                                                              Other Income/Expense
                                                                Other Expense

                                                                                                                                                 Page 2
                                              3:53 PM                                      US Outdoor Holding, LLC
                                              11/20/20                                           Profit & Loss
                                              Accrual Basis                                       October 2020

                                                                                                                     Oct 20
                                                                     80000 · Ask My Accountant                                  -149.66

                                                                  Total Other Expense                                           -149.66

                                                                Net Other Income                                                 149.66

                                                              Net Income                                                      -54,232.80




Case
                        Exhibit 1 - Page 40 of 45
                        Exhibit A - Page 37 of 38
Case20-32571-dwh11
     20-32571-dwh11 Doc
                    Doc120
                        90 Filed
                           Filed12/03/20
                                 01/18/21
                                                                                                                                           Page 3
                       IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF OREGON

 In re                                           Case No. 20-32571-dwh11

 U.S. Outdoor Holding, LLC                       BALLOT FOR ACCEPTING OR
                                                 REJECTING DEBTOR'S PLAN
           Debtor-in-Possession.

          Filed By:                                               on:
                       (Company or Creditor's Name)                        (Date)

                Number of your Class in the Plan:                              .

              The Plan referred to in this ballot can be confirmed by the court and thereby
made binding on you if it is accepted by the holders of two-thirds in total dollar amount and
more than one-half in number of Claims in each class and the holders of two-thirds in
amount of equity security interests in each class voting on the Plan. In the event the
requisite acceptances are not obtained, the Court may nevertheless confirm the Plan if the
Court finds that the Plan accords fair and equitable treatment to the class rejecting it. To
have your vote count, you must complete and return this ballot.

                       The undersigned: (check one box)

                       □Accepts               □Rejects
the Debtor’s Plan of Reorganization of the above-named Debtor.

Signed:                              Title:                   Phone No.

Street:                            City:                 State:         Zip:

       Return this ballot on or before the date specified in the court order accompanying this
Plan to:

                                    DOUGLAS R. RICKS
                                       ATTN: COLIN
                                          BALLOTS
                               The Spalding Building, Suite 520
                                 319 S.W. Washington Street
                                Portland, Oregon 97204-2620
                                   Phone: (503) 241-4869
                                     Fax: (503) 241-3731

     NOTICE: "THIS FORM DOES NOT CONSTITUTE A PROOF OF CLAIM AND MAY
NOT BE USED TO FILE A CLAIM OR TO INCREASE ANY AMOUNT LISTED IN THE
DEBTOR SCHEDULES."


Exhibit A6 -–Page
Exhibit       Page38
                   1 of
                     of 1
                        38
Exhibit 1 - Page 41 of 45
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc120
                                              90 Filed
                                                 Filed12/03/20
                                                       01/18/21
US Outdoor Holding, LLC - Case No. 20-32571-dwh11


                        Beginning Cash                                                        400,000    622,738     452,201    402,657


                                                                     CLAIM     INTEREST
            CLASS                  CREDITOR NAME                    AMOUNT       RATE   Due 1/31/21 Due 1/31/22 Due 1/31/23 Due 1/31/24
            Admin       Vanden Bos & Chapman                            50,000    0%         50,000       5,000       5,000           0
            Admin       CFO Selections, LLC                              5,000    0%          6,000       7,500       5,000           0
            Admin       Willamette Valley Accounting                     4,000    0%          4,000       4,000       4,000           0
            Admin       Solomon Trust (precautionary)                   30,000    0%         30,000           0           0           0
            Admin       Subchapter V Trustee                            10,000    0%         10,000           0           0           0
                                                        Subtotal:                          100,000      16,500      14,000            0

            Class 1     US Small Business Admin                        150,154    3.75%         5,117      8,772       8,772      8,772
            Class 2     Tecnica Group USA Corp                          50,298    4.25%         4,500     49,973           0          0
            Class 3     The Burton Corporation                          64,302    4.25%         8,200     61,335
            Class 4     National Funding Inc                            74,567    4.25%         9,500     71,136
            Class 5     IRS                                             92,734    3.00%         6,000     92,202
            Class 6     Multnomah County                                 1,610   16.00%         1,610          0           0          0
            Class 7     Solomon Trust (see Class 9)                    193,129    0.00%             0          0           0          0
            Class 8     Solomon Management (see Class 9)             1,269,785    0.00%             0          0           0          0
                                                    Subtotal:                                  34,927    283,418       8,772      8,772

            Priority    IRS                                             59,642   3.00%          6,000     57,094          0          0
            Priority    ODR                                             24,260   6.00%          3,000     24,079
            Priority    DCBS                                             1,127   6.00%          1,127          0          0          0
            Priority    Employment Dept                                 18,169   6.00%          2,500     17,765
                                                        Subtotal:                              12,627     98,938          0          0

            Class 9     General Unsecured Creditors                  3,600,085     0%               0     50,000     323,795    323,795
                                                        Subtotal:                                   0     50,000     323,795    323,795

                        Total Plan Payments:                                                  147,554    448,856     346,567    332,567
                        Net Cash Carry:                                                       252,446    173,882     105,634     70,090




        Exhibit B - Page 1 of 4
        Exhibit 1 - Page 42 of 45
                                   Case 20-32571-dwh11                  Doc 120      Filed 01/18/21
                             US Outdoor Holding, LLC                                 % Inc.     Jan 21         Feb 21         Mar 21         Apr 21         May 21        Jun 21         Jul 21         Aug 21        Sep 21        Oct 21         Nov 21        Dec 21        2021

                             Income Statement Projections
                                 Beginning Cash Balance                                        252,446.00     257,442.99     366,314.32     358,782.73     335,952.29    326,056.25     317,280.62     305,180.51    300,435.82    313,862.71     373,557.21    460,654.60
                                 Post-Petition Financing                                                      250,000.00                                                                                                                                                        250,000
                                 Revenue
                                     46100 · In-Store Sales                                      175,606        131,450        135,750         87,540        105,000       112,000        119,098        121,500       160,020       272,550        338,100       473,340      2,231,954
                                     46200 · eCommerce Sales
                                            46201 · Paypal                                        13,800         12,650         10,000         10,000         10,000        10,000         10,000         10,000        10,000        10,000         11,500        11,500       129,450
                                            46202 · Amazon                                         9,100          8,450          7,800          7,800          7,800         7,800          8,580          9,360         9,750        10,140         12,480        13,650       112,710
                                            46200 · eCommerce Sales - Other                       30,000         30,000         22,500         25,000         27,500        30,000         32,500         30,000        36,000        52,500         81,000        94,500       491,500
                                     46000 · Merchandise Sales - Other                             1,500          1,500          1,500                0              0       1,500          2,000          3,000         1,500                0             0              0     12,500
                                     48300 · Vendor Discounts Given                                       0              0              0                            0              0              0             0             0              0             0              0           0
                                     48500 · Refunds and Returns                                    -550           -550           -550           -550           -550          -478           -511           -494          -558          -726          -1,050        -1,197        -7,763




                      4
                                     49000 · Sponsorship and Commissions                                  0              0              0              0             0              0              0             0             0              0             0              0            0




Exhibit 1 - Page 43 of 45
Exhibit B - Page 2 ofCase
                                 Total Revenue                                                   229,456        433,500        177,000        129,790        149,750       160,822        171,667        173,366       216,713       344,464        442,030       591,794      3,220,352
                                 Cost of Goods Sold
                                     50000 · Cost of Goods Sold (Inventory)              50%     114,142        215,643         88,048         64,564         74,493        80,000         85,395         86,241       107,803       171,352        219,887       294,386      1,601,954
                                     50090 · Inventory - Freight -In                      0%         125            125            125            125            125           125            125            125           125           125            125           125         1,500
                                     50100 · Cost of Sales
                                            59700 · eComm | Online Services              10%       5,290          5,110          4,030          4,280          4,530         4,780          5,108          4,936         5,575         7,264         10,498        11,965        73,366
                                            59800 · Merchant Account Fees                 3%       7,572         14,306          5,841          4,283          4,942         5,307          5,665          5,721         7,152        11,367         14,587        19,529       106,272
                                     Total 50100 · Cost of Sales                         10%      12,862         19,416          9,871          8,563          9,472        10,087         10,773         10,657        12,727        18,631         25,085        31,494       179,638




            20-32571-dwh11
                                     55020 · Rental Fleet                                 0%             0              0                                         48         3,000          7,500             56            70           111          4,500         4,500        19,785
                                     65040 · Repair Shop Expenses                         0%         300                0                                         23               25         300             27            34           350            350           350         1,759
                                     68200 · Postage/ Shipping                            5%       2,645          2,555          2,015          2,140          2,265         2,390          2,554          2,468         2,788         3,632          5,249         5,983        36,683
                                 Total COGS                                              70%     130,074        237,739        100,059         75,392         86,426        95,628        106,647         99,574       123,546       194,202        255,196       336,837      1,841,319




            Doc 120
                             Gross Profit                                                         99,382        195,761         76,941         54,398         63,324        65,194         65,020         73,793        93,167       150,262        186,835       254,956      1,379,033
                                 Gross Margin %                                                     43%            45%            43%            42%            42%           41%            38%            43%           43%           44%            42%           43%           43%
                                 Product Margin %                                                   50%           -17%            50%            50%            50%           50%            50%            50%           50%           50%            50%           50%           50%


                                 Expense
                                     General & Administrative
                                            60211 · Fuel                                             125            125            125            125            125           125            125            125           125           125            125           125         1,500
                                            60201 · Automobile Expense - Other                       250            250            250            250            250           250            250            250           250           250            250           250         3,000




            Filed 01/18/21
                                            60300 · Parking and Tolls                                750                0              0              0              0             0              0              0             0             0              0             0           750
                                            60400 · Bank Service Charges - Other                         40             40             40             40          40               40             40          40            40               40          40               40          480
                                            61700 · Computer and Internet Expenses                 1,100          1,100          1,100          1,100          1,100         1,100          1,100          1,100         1,100         1,100          1,100         1,100        13,200
                                            63300 · Liability Insurance                            1,550          1,550          1,550          1,550          1,550         1,550          1,550          1,550         1,550         1,550          1,550         1,550        18,600
                                            64300 · Meals and Entertainment 50%                      150            150            150            150            150           150            150            150           150           150            150           150         1,800
                                            64310 · Meals and Entertainments 100%                    225            225            225            225            225           225            225            225           225           225            225           225         2,700
                                            64400 · Travel                                           200            200            200            200            200           200            200            200           200           200            200           200         2,400
                                            64900 · Office Supplies                                2,000            925            925            925            925           925            925            925           925           925            925           925        12,175
                                            64950 · Software Subscription Expense                    700            700            700            700            700           700            700            700           700           700            700           700         8,400
                                            66700 · Professional Fees                              2,500          2,500          2,500          2,500          2,500         2,500          2,500          2,500         2,500         2,500          2,500         2,500        30,000
                                            66900 · Reconciliation Discrepancies                         0              0              0              0              0             0              0              0             0             0              0             0            0
                             US Outdoor Holding, LLC                            % Inc.   Jan 21        Feb 21        Mar 21        Apr 21       May 21       Jun 21        Jul 21        Aug 21       Sep 21       Oct 21        Nov 21       Dec 21        2021

                                         68900 · Licenses and Fees                            450           450          450            450         450           450           450          450          450           450          450           450         5,400
                                     Total General & Administrative                        10,040         8,215         8,215         8,215        8,215        8,215         8,215         8,215        8,215        8,215         8,215        8,215       100,405
                                     Occupancy                                                                                              0            0            0             0             0            0            0             0            0            0
                                         61100 · Display & Decor Expense                      250           250          250            250         250           250           250          250          250           250          250           250         3,000
                                         63600 · Janitorial Expense                           150           150          150            150         150           150           150          150          150           150          150           150         1,800
                                         64800 · Furniture & Fixtures < $2500                 100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                         66300 · Business Tax                               3,000         3,000         3,000         2,500        2,500        2,500         2,500         2,500        2,500        3,000         3,000        3,000        33,000
                                         67100 · Rent Expense                               9,000         9,000         9,000         9,000        9,000        9,000         9,000         9,000        9,000        9,000         9,000        9,000       108,000
                                         67200 · Repairs and Maintenance                      500           500          500            200         200          200            200          200          200           200          900           900         4,700
                                         67250 · Small Equipment                                  0             0             0             0            0            0             0             0            0            0             0            0            0
                                         68601 · Telephone Expense                            750           750          750            750         750           750           750          750          750           750          750           750         9,000
                                         68600 · Utilities - Other                          1,000         1,000         1,000         1,000        1,000        1,000         1,000         1,000        1,000        1,000         1,000        1,000        12,000




                      4
                                     Total Occupancy                                       14,750        14,750        14,750        13,950       13,950       13,950        13,950        13,950       13,950       14,450        15,150       15,150       172,700




Exhibit 1 - Page 44 of 45
Exhibit B - Page 3 ofCase
                                     Sales & Marketing                                                                                      0            0            0             0             0            0            0             0            0            0
                                         60180 · Advertising and Promotion                  8,000         8,000         7,000         7,000        7,000        7,000         7,000         7,000        7,000       10,000        10,000       10,000        88,000
                                         60184 · Dues and Memberships                         100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                         60187 · Marketing/Public Relation                    200           200          200            500         500           500           500          500          500         1,500         1,500        1,500         8,100
                                         60188 · Events & Classes                                 0             0             0             0            0            0             0             0            0        500          500           500         1,500
                                         60189 · Trade Show Expenses                                                                        0            0        750           750          750          750           750          750           750         5,250
                                         64500 · Gifts < $25                                      0             0             0             0            0            0             0             0            0            0             0            0            0
                                         64600 · Gifts > $25                                      0             0             0             0            0             0             0            0            0             0            0            0            0




            20-32571-dwh11
                                         68300 · Printing/Reproduction                        300           300          300            300         300           300           300          300          300           300          300           300         3,600
                                         69600 · Consignment Sales Expense                        0             0             0             0            0             0             0            0            0             0            0            0            0
                                     Total Sales & Marketing                                8,600         8,600         7,600         7,900        7,900        8,650         8,650         8,650        8,650       13,150        13,150       13,150       107,650
                                     60000 · Payroll Expenses
                                         60031 · Hourly Labor                              34,440        29,400        28,140        22,190       18,760       18,760        21,560        22,820       23,800       28,980        36,288       36,540       321,678




            Doc 120
                                         60032 · Salary Labor                              16,000        16,000        16,000        16,000       16,000       16,000        16,000        16,000       16,000       16,000        16,000       16,000       192,000
                                         60050 · Federal Payroll Taxes                      4,287         3,859         3,752         3,246        2,955        2,955         3,193         3,300        3,383        3,823         4,444        4,466        43,663
                                         60060 · State Payroll Taxes                        2,018         1,816         1,766         1,528        1,390        1,390         1,502         1,553        1,592        1,799         2,092        2,102        20,547
                                         63400 · Worker's Compensation                        200           200          200            200          50               50            50        50           50               50       200           200         1,500
                                         66400 · Pension Plan                                 300           300          300            300         300           300           300          300          300           300          300           300         3,600
                                         66500 · Medical/ Dental Insurance                  3,500         3,500         3,500         3,500        3,500        3,500         3,500         3,500        3,500        3,500         3,500        3,500        42,000
                                         66550 · Other Employee Benefits                      100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                         66800 · Recruiting Expenses                              50            50            50            0            0            0             0             0       100           100          150               50          550




            Filed 01/18/21
                                         68500 · Uniforms                                         0             0             0             0            0            0             0             0            0            0         48               0           48
                                         60000 · Payroll Expenses - Other                     100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                     Total 60000 · Payroll Expenses                        60,995        55,325        53,908        47,164       43,155       43,155        46,305        47,723       48,925       54,753        63,222       63,358       627,986


                                 Total Expense                                             94,385        86,890        84,473        77,229       73,220       73,970        77,120        78,538       79,740       90,568        99,737       99,873      1,008,741


                                 Net Income                                                 4,997       108,871        -7,532       -22,830       -9,896       -8,776       -12,100        -4,745       13,427       59,695        87,097      155,084       370,292
              US Outdoor Holding, LLC                Forecast      Forecast      Forecast
              Income Statement & Projections          2021          2022          2023

                         In-Store Sales                2,231,954     2,410,511     2,506,931
                         eCommerce Sales                 733,660       792,353       824,047
                         Merchandise Sales - Other        12,500        13,500        14,040
              Total Revenue                            3,220,352     3,207,980     3,336,299
              Total COGS                               1,841,319     1,901,553     1,977,615
          Gross Profit                                 1,379,033     1,306,427     1,358,685
              Gross Margin %                              42.8%         40.7%         40.7%
                  Total General & Administrative         100,405       103,417       106,520
                  Total Occupancy                        172,700       179,608       186,792
                  Total Sales & Marketing                107,650       110,880       114,206
                  Total Payroll Expenses                 627,986       634,204       654,143
              Total Expense                            1,008,741     1,028,109     1,061,661


          Net Income                                     370,292       278,319       297,023


          Beginning Cash:                                400,000       252,446       173,882
          Cash + NI                                    400,000       622,738       452,201




Exhibit B - Page 4 of 4
Exhibit 1 - Page 45 of 45
                         Case 20-32571-dwh11           Doc 120     Filed 01/18/21
In re U.S. Outdoor Holding LLC
Bankruptcy Case No. 20-32571-dwh11


                               CERTIFICATE - TRUE COPY

DATE:             January 18, 2021

DOCUMENT:         DEBTOR-IN-POSSESSION’S MEMORANDUM IN SUPPORT OF
                  CONFIRMATION OF DEBTOR-IN-POSSESSION’S CHAPTER 11,
                  SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

      U.S. Outdoor Holding LLC
      Attn: Edward A. Ariniello
      600 NW 14th Ave Ste A
      Portland, OR 97209

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: January 18, 2021                VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Daniel C. Bonham
                                           Douglas R. Ricks, OSB #044026
                                           Daniel C. Bonham, OSB #183104
                                           Of Attorneys for Debtor-in-Possession




Page 1 – CERTIFICATE OF SERVICE



                    Case 20-32571-dwh11        Doc 120    Filed 01/18/21
